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     Attorneys for Plaintiff Kosher Eats LLC
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9

10                                               Civil Action No. 2:24-cv-05161
11
     KOSHER EATS LLC, a Florida
     limited liability company,                     VERIFIED COMPLAINT
12                                                   FOR DAMAGES AND
13              Plaintiff,                           INJUNCTIVE RELIEF

14         v.
15
     MESSNER REEVES LLP, a Colorado
16 limited liability partnership,

17 CLEARWATER PREMIERE
     PERPETUAL MASTER LLC, a
18 Wyoming limited liability company,

19 TORBEN WELCH, an individual,
     DANIEL CHARTRAW a/k/a Leon
20 Chartue, an individual, and

21 TITAN FINANCIAL, LLC, a
     Wyoming limited liability company,
22

23                 Defendants.

24

25                                  VERIFIED COMPLAINT
26         Plaintiff Kosher Eats LLC brings this action against Defendants Messner Reeves
27 LLP (“Messner”), Clearwater Premiere Perpetual Master LLC (“Clearwater”), Torben

28 Welch, Daniel Chartraw a/k/a Leon Chartue, and Titan Financial, LLC (“Titan”).

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 1 Plaintiff seeks $6,000,000 in trebled damages and injunctive relief for the theft of its

 2 escrowed funds due to Defendants’ violations of the Racketeer Influenced and Corrupt

 3 Organizations (“RICO”) Act.

 4                                   INTRODUCTION
 5       1.      Defendants formed an unlawful enterprise and committed five acts of wire
 6 fraud, stealing $7,670,000 from their victims, including $2,000,000 from Plaintiff.

 7 Under the false pretense of serving as an escrow pursuant to sizable business loans with

 8 no personal guarantee, which were never going to be made, Defendant Messner

 9 obtained possession of the victims’ deposit money in its law firm trust account. As part

10 of this advance fee scam, Defendant Messner failed to remit the escrowed money to

11 the lender or borrower. Instead, Defendant Messner conspired with a convicted felon,

12 lied about the money, presented fraudulent documents, threatened those seeking a

13 truthful explanation, and stonewalled.

14       2.      Defendant Chartraw is a convicted felon, thief, fraudster, and former
15 fugitive with an extensive criminal history. In 2012, after he was arrested, he skipped

16 bail, adopted an alias, and absconded to Mexico. Chartraw was apprehended by the

17 FBI, extradited, and indicted in the Eastern District of California on 18 counts of wire

18 fraud perpetrated in a manner similar to the crimes in this case. After a guilty plea,

19 Defendant Chartraw was sentenced to four years and nine months in federal prison.

20 Chartraw also pled guilty to state felony theft crimes and felony domestic battery, and

21 he was concurrently sentenced to seven years in state prison.

22       3.      Defendants, including Messner, Clearwater, Welch, and Chartraw,
23 engaged in predicate acts of racketeering by defrauding new businesses with a false

24 promise that if the business made a deposit into Defendant Messner’s trust account,

25 supposedly to be held safely by Messner, the business would receive a loan for millions

26 of dollars within 90 days. The loan would be four times larger than the escrow deposit,

27 and the loan would not require a personal guarantee or real estate collateral. The phony

28 and phantom loan terms obligated a borrower to pay only interest payments at a mere

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 1 six per cent, which, at that time, was marginally above the prevailing inflation rate.

 2 And of course, the principal did not become due until the end of the ten-year period.

 3       4.      These purported loan terms are irrational, and even if the lender had the
 4 money, and it didn’t in this case, no sensible lender would issue a loan under such

 5 conditions. Without a personal guarantee or real estate collateral, a borrower could

 6 simply receive the massive loan and then dissolve the business while retaining all the

 7 funds, and the lender would have no recourse. Moreover, the six per cent interest-only

 8 rate for ten years rendered the loan essentially worthless on an inflation-adjusted basis,

 9 providing virtually no economic benefit even in a best-case scenario where the

10 borrower made every payment without risk.

11       5.      Plaintiff, like other similarly situated victims, was a small business
12 seeking financing to expand its operations. The purported lender, manipulated by

13 Defendants, is a shell entity created in September 2022 as a Wyoming limited liability

14 company just months before Defendants fraudulently procured the victims’ deposits in

15 2023. The phony lender's website is riddled with misrepresentations, including false

16 claims about the amount of money it possesses and the number of deals it has closed.

17 The fake lender entity has no capital, no lender’s license, and no capacity to issue any

18 loans.

19       6.      After receiving Plaintiff’s $2,000,000 deposit, Messner, acting in concert
20 with the other Defendants, made false and dilatory statements about the status of the

21 supposedly forthcoming loan, claiming that “everything is still on track” and the funds

22 would be “freed up” soon. When the deadline passed for the funding of the loans,

23 Defendants further dissembled and pretended that the delays were administrative in

24 nature and that the loans would be funded imminently.

25       7.      Welch, the managing partner of a Messner office who placed himself
26 directly in the center of the fraud scheme, falsely stated on August 24, 2023, “[t]he

27 bankers are still working through transfer protocols and clearance of the funds. I remain

28 hopeful funds are cleared and deposited tomorrow.” But no “bankers” were “working

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 1 through” any “transfer protocols.” Welch then dodged communications, directed others

 2 to run interference for him, and abused his position by threatening those who sought

 3 truthful and candid information about the stolen money.

 4       8.      Plaintiff wired $2,000,000 to Messner while trusting the sanctity of an
 5 escrow in a law firm’s trust account. On November 3, 2023, Welch proclaimed “[t]he

 6 funds are under the possession and control of the Firm awaiting deployment.” But with

 7 the funds still unaccounted for more than two months later, on January 25, 2024, Welch

 8 changed his story and asserted that the funds were actually held by a shell Wyoming

 9 limited liability company, Titan, that was formed on November 7, 2023, under

10 Chartraw’s business partner’s name, with the signature of Welch’s assistant. Peddling

11 in forged and fraudulent documents, Welch attached a bogus PDF with scrubbed out

12 metadata supposedly reflecting an IOLTA account that did not even correspond to a

13 bank as Welch falsely stated, “[t]he funds remain part of the escrow under our control

14 at Titan Financial, LLC.”

15       9.      On April 18, 2024, pursuant to a sister lawsuit against Messner by another
16 victim, Defendant Messner’s counsel contradicted Welch’s assertion that Titan

17 possessed the missing money, as Messner’s counsel stated that Defendant Clearwater

18 possessed the escrow money and not Defendant Titan. Neither of those entities should

19 have Plaintiff’s money because Plaintiff never conducted any business with Clearwater

20 or Titan, the phony lender never received the deposit money, and Plaintiff did not

21 consent to the transfer of its money anywhere out of Messner’s trust account. Plaintiff

22 demanded the return of its stolen money and Defendants stonewalled. For these

23 transgressions, Plaintiff demands satisfaction.

24                                        PARTIES
25       10.     Plaintiff is a Florida limited liability company with one member, Frysta
26 Management LLC, a Florida limited liability company, whose two members, Noah

27 Lasko and Deborah Lasko, are Florida citizens.

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 1       11.    Defendant Messner is a Colorado limited liability partnership, and none
 2 of Messner’s partners are citizens of Florida. The citizenship of Messner’s partners is

 3 set forth below.

 4        1. Caleb Meyer, CEO and Partner. His listed locations of practice are
 5              Denver, Colorado, Greenwood Village, Colorado, and Las Vegas,
 6              Nevada. Upon information and belief, he is a citizen and
 7              domiciliary of the State of Colorado.
 8        2. Michelle L. Harden, COO and Managing Partner. Her listed location of
 9              practice is Denver, Colorado. Upon information and belief, she is a
10              citizen and domiciliary of the State of Colorado.
11        3. Renne M. Finch, CSO and Partner. Her listed location of practice is Las
12              Vegas, Nevada. Upon information and belief, she is a citizen and
13              domiciliary of the State of Nevada.
14        4. David A. Reeves, Managing Partner. His listed location of practice is
15              Greenwood Village, Colorado. Upon information and belief, he is
16              a citizen and domiciliary of the state of Colorado.
17        5. Benjamin Tietgen, Partner. His listed location of practice is Phoenix,
18              Arizona. Upon information and belief, he is a citizen and
19              domiciliary of the state of Arizona.
20        6. Darren D. Alberti, Partner. His listed location of practice is Denver,
21              Colorado. Upon information and belief, he is a citizen and
22              domiciliary of the state of Colorado.
23        7. Kate A. Bailey, Partner. Her listed location of practice is Denver,
24              Colorado, Greenwood Village, Colorado and Salt Lake City, Utah.
25              Upon information and belief, she is a citizen and domiciliary of
26              either the state of Colorado or the State of Utah.
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 1        8. Brenda L. Bartels, Partner. Her listed location of practice is Colorado
 2              Springs, Colorado. Upon information and belief, she is a citizen and
 3              domiciliary of the state of Colorado.
 4        9. Alex Beltz, Partner. His listed location of practice is Greenwood
 5              Village, Colorado. Upon information and belief, he is a citizen and
 6              domiciliary of the state of Colorado.
 7        10. Amber L. Blasingame, Partner. Her listed location of practice is
 8              Colorado Springs, Colorado. Upon information and belief, she is a
 9              citizen and domiciliary of the state of Colorado.
10        11. Brett A. Boon, Partner. His listed location of practice is Costa Mesa,
11              California. Upon information and belief, he is a citizen and
12              domiciliary of the state of California.
13        12. Valerie D. Bromley, Partner, whose listed location of practice is
14              Greenwood Village, Colorado. Upon information and belief, she is
15              a citizen and domiciliary of the state of Colorado.
16        13. Edgar Carranza, Partner. His listed location of practice is Las Vegas,
17              Nevada. Upon information and belief, he is a citizen and
18              domiciliary of the state of Nevada.
19        14. Kathleen Carter, Partner. Her listed location of practice is Costa Mesa,
20              California. Upon information and belief, she is a citizen and
21              domiciliary of the state of California.
22        15. Cynthia T. Carucci, Partner. Her listed location of practice is Costa
23              Mesa, California. Upon information and belief, she is a citizen and
24              domiciliary of the state of California.
25        16. Charles C. Cavanagh, Partner. His listed location of practice is Denver,
26              Colorado. Upon information and belief, he is a citizen and
27              domiciliary of the state of Colorado.
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 1        17. Laura Chartrand, Partner. Her listed location of practice is Denver,
 2              Colorado. Upon information and belief, she is a citizen and
 3              domiciliary of the state of Colorado.
 4        18. Gregory B. Cohen, Partner. His listed location of practice is San Jose,
 5              California. Upon information and belief, he is a citizen and
 6              domiciliary of the state of California.
 7        19. Kimberley P. Cronin, Partner. Her listed location of practice is Denver,
 8              Colorado. Upon information and belief, she is a citizen and
 9              domiciliary of the state of Colorado.
10        20. Isaac S. Crum, Partner. His listed location of practice is Phoenix,
11              Arizona. Upon information and belief, he is a citizen and
12              domiciliary of the state of Arizona.
13        21. Erica M. Deatherage, Partner. Her listed location of practice is
14              Phoenix, Arizona. Upon information and belief, she is a citizen and
15              domiciliary of the state of Arizona.
16        22. Matthew J. Deenihan, Partner. His listed location of practice is Costa
17              Mesa, California. Upon information and belief, he is a citizen and
18              domiciliary of the state of California.
19        23. Allison Dodd, Partner. Her listed location of practice is Denver,
20              Colorado. Upon information and belief, she is a citizen and
21              domiciliary of the state of Colorado.
22        24. Brieanna M. Dolmage, Partner, whose listed location of practice is
23              Costa Mesa, California. Upon information and belief, she is a
24              citizen and domiciliary of the state of California.
25        25. Patrick G. Drake, Partner. His listed location of practice is Greenwood
26              Village, Colorado. Upon information and belief, he is a citizen and
27              domiciliary of the state of Colorado.
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 1        26. R.J. Ertmer, Partner. His listed location of practice is Greenwood
 2              Village, Colorado. Upon information and belief, he is a citizen and
 3              domiciliary of the state of Colorado.
 4        27. Rachel Farr, Partner. Her listed location of practice is Denver,
 5              Colorado. Upon information and belief, she is a citizen and
 6              domiciliary of the state of Colorado.
 7        28. Mary Bryne Fletcher, Partner. Her listed location of practice is
 8              Denver, Colorado. Upon information and belief, she is a citizen and
 9              domiciliary of the state of Colorado.
10        29. Austin J. Gemmell, Partner. His listed location of practice is Denver,
11              Colorado. Upon information and belief, he is a citizen and
12              domiciliary of the state of Colorado.
13        30. Matthew W. George, Partner. His listed location of practice is Denver,
14              Colorado. Upon information and belief, he is a citizen and
15              domiciliary of the state of Colorado.
16        31. Deanna Gilbertson, Partner. Her listed location of practice is Costa
17              Mesa, California. Upon information and belief, he is a citizen and
18              domiciliary of the state of California.
19        32. Margaret K. Gray, Partner. Her listed location of practice is Denver,
20              Colorado. Upon information and belief, she is a citizen and
21              domiciliary of the state of Colorado.
22        33. Scott Hawranek, Partner. His listed location of practice is Colorado
23              Springs, Colorado. Upon information and belief, he is a citizen and
24              domiciliary of the state of Colorado.
25        34. Andrew S. Hollins, Partner. His listed location of practice is Costa
26              Mesa, California. Upon information and belief, he is a citizen and
27              domiciliary of the state of California.
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 1        35. Amy E. Huff, Partner. Her listed location of practice is Denver,
 2              Colorado. Upon information and belief, she is a citizen and
 3              domiciliary of the state of Colorado.
 4        36. Craig a. Humphrey, Partner. His listed location of practice is Costa
 5              Mesa, California. Upon information and belief, he is a citizen and
 6              domiciliary of the state of California.
 7        37. Matt M. Jedrzejek, Partner. His listed location of practice is Costa
 8              Mesa, California. Upon information and belief, he is a citizen and
 9              domiciliary of the state of California.
10        38. Maclain Joyce, Partner. His listed location of practice is Denver,
11              Colorado. Upon information and belief, he is a citizen and
12              domiciliary of the state of Colorado.
13        39. Idin Kashefipour, Partner. His listed location of practice is Costa
14              Mesa, California. Upon information and belief, he is a citizen and
15              domiciliary of the state of California.
16        40. Dara Keller, Partner. Her listed location of practice is Denver,
17              Colorado. Upon information and belief, she is a citizen and
18              domiciliary of the state of Colorado.
19        41. Daniel J. Klett, Partner. His listed location of practice is Las Vegas,
20              Nevada. Upon information and belief, he is a citizen and
21              domiciliary of the state of Nevada.
22        42. Steven G. Knauss, Partner. His listed location of practice is Las Vegas,
23              Nevada. Upon information and belief, he is a citizen and
24              domiciliary of the state of Nevada.
25        43. Marjorie E. Kratsas, Partner. Her listed location of practice is Las
26              Vegas and Reno, Nevada. Upon information and belief, she is a
27              citizen and domiciliary of the state of Nevada.
28

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 1       44. Jason G. Martinez, Partner. His listed location of practice is Las
 2             Vegas, Nevada. Upon information and belief, he is a citizen and
 3             domiciliary of the state of Nevada.
 4       45. Bryant Messner, Partner. His listed location of practice is Denver,
 5             Colorado. Upon information and belief, he is a citizen and
 6             domiciliary of the state of Colorado.
 7       46. Ian R. Mitchell, Partner. His listed location of practice is Denver,
 8             Colorado. Upon information and belief, he is a citizen and
 9             domiciliary of the state of Colorado.
10       47. Scott Monroe, Partner. His listed location of practice is Costa Mesa,
11             California. Upon information and belief, he is a citizen and
12             domiciliary of the state of California.
13       48. Simone M. Montoya, Partner. Her listed location of practice is Denver,
14             Colorado. Upon information and belief, she is a citizen and
15             domiciliary of the state of Colorado.
16       49. Bruce A. Montoya, Partner. His listed location of practice is Denver
17             and Greenwood Village, Colorado. Upon information and belief, he
18             is a citizen and domiciliary of the state of Colorado.
19       50. Kathleen J. Mowry, Partner. Her listed location of practice is Denver,
20             Colorado. Upon information and belief, she is a citizen and
21             domiciliary of the state of Colorado.
22       51. Christina Mundy, Partner. Her listed location of practice is Las Vegas,
23             Nevada. Upon information and belief, she is a citizen and
24             domiciliary of the state of Nevada.
25       52. Ann A.P. Nguyen, Partner. Her listed location of practice is San Jose,
26             California. Upon information and belief, she is a citizen and
27             domiciliary of the state of California.
28

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 1       53. Katherine Otto, Partner. Her listed location of practice is Denver,
 2             Colorado and New York, New York. Upon information and belief,
 3             she is a citizen and domiciliary of the state of Colorado.
 4       54. Jonathan B. Owens, Partner. His listed location of practice is Las
 5             Vegas, Nevada. Upon information and belief, he is a citizen and
 6             domiciliary of the state of Nevada.
 7       55. Julian Pardo de Zela, Partner. His listed location of practice is San
 8             Jose, California. Upon information and belief, he is a citizen and
 9             domiciliary of the state of California.
10       56. Frank J. Perretta, Partner. His listed location of practice is San Jose,
11             California. Upon information and belief, he is a citizen and
12             domiciliary of the state of California.
13       57. Peter W. Pierce, Partner. His listed location of practice is Costa Mesa,
14             California. Upon information and belief, he is a citizen and
15             domiciliary of the state of California.
16       58. William D. Randall, Partner. His listed location of practice is Costa
17             Mesa, California. Upon information and belief, he is a citizen and
18             domiciliary of the state of California.
19       59. Richard Reice, Partner. His listed location of practice is New York,
20             New York. Upon information and belief, he is a citizen and
21             domiciliary of the state of New York.
22       60. Adam M. Royval, Partner. His listed location of practice is Denver,
23             Colorado and Phoenix, Arizona. Upon information and belief, he is
24             a citizen and domiciliary of the state of Colorado.
25       61. Heather A. Salg, Partner. Her listed location of practice is Greenwood
26             Village, Colorado. Upon information and belief, she is a citizen and
27             domiciliary of the state of Colorado.
28

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 1       62. Edwin N. Schwartz, Partner. His listed location of practice is Costa
 2             Mesa, California. Upon information and belief, he is a citizen and
 3             domiciliary of the state of California.
 4       63. Mikhail A. Shah, Partner. His listed location of practice is New York,
 5             New York. Upon information and belief, he is a citizen and
 6             domiciliary of the state of New York.
 7       64. Greg Sitrick, Partner. His listed location of practice is Phoenix,
 8             Arizona. Upon information and belief, he is a citizen and
 9             domiciliary of the state of Arizona.
10       65. Rowan P. Smith, Partner. His listed location of practice is Phoenix,
11             Arizona. Upon information and belief, he is a citizen and
12             domiciliary of the state of Arizona.
13       66. Aaron N. Soleimani, Partner. His listed location of practice is Costa
14             Mesa, California. Upon information and belief, he is a citizen and
15             domiciliary of the state of California.
16       67. Heather E. Stern, Partner. Her listed location of practice is Costa Mesa,
17             California. Upon information and belief, she is a citizen and
18             domiciliary of the state of California.
19       68. John H. Stevens, Partner. His listed location of practice is Denver,
20             Colorado. Upon information and belief, he is a citizen and
21             domiciliary of the state of Colorado.
22       69. Deanne R. Stodden, Partner. Her listed location of practice is Denver,
23             Colorado. Upon information and belief, she is a citizen and
24             domiciliary of the state of Colorado.
25       70. Matthew R. Sullivan, Partner. His listed location of practice is
26             Greenwood Village, Colorado. Upon information and belief, he is
27             a citizen and domiciliary of the state of Colorado.
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 1       71. Jenny L. Thornton, Partner. Her listed location of practice is
 2               Greenwood Village, Colorado. Upon information and belief, she is
 3               a citizen and domiciliary of the state of Colorado.
 4       72. Wade Warthen, Partner. His listed location of practice is Denver,
 5               Colorado. Upon information and belief, he is a citizen and
 6               domiciliary of the state of Colorado.
 7       73. Andrew R. Welch, Partner. His listed location of practice is Salt Lake
 8               City, Utah. Upon information and belief, he is a citizen and
 9               domiciliary of the state of Utah.
10       74. Defendant Torben M. Welch, Partner. His listed location of practice is
11               Salt Lake City, Utah. Upon information and belief, he is a citizen
12               and domiciliary of the state of Utah.
13       75. Karie N. Wilson, Partner. Her listed location of practice is Las Vegas,
14               Nevada. Upon information and belief, she is a citizen and
15               domiciliary of the state of Nevada.
16       76. Douglas C. Wolanske, Partner. His listed location of practice is
17               Denver, Colorado. Upon information and belief, he is a citizen and
18               domiciliary of the state of Colorado.
19       77. Jon B. Zimmerman, Partner. His listed location of practice is San Jose,
20               California. Upon information and belief, he is a citizen and
21               domiciliary of the state of California.
22      12.      Defendant Clearwater is a Wyoming limited liability company with one
23 member, Todd Owen, who is a citizen of California.

24      13.      Defendant Welch is a natural person and a citizen of Utah.
25      14.      Defendant Chartraw a/k/a Chartue is a natural person and a citizen of
26 California.

27      15.      Defendant Titan is a Wyoming limited liability company with one
28 member, Todd Owen, who is a citizen of California.

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 1                             JURISDICTION AND VENUE
 2       16.     Diversity jurisdiction is established under 28 U.S.C. § 1332. Plaintiff is a
 3 citizen of Florida. Defendant Messner is a citizen of Arizona, California, Colorado,

 4 Nevada, New York, and Utah. Defendant Clearwater is a citizen of California.

 5 Defendant Welch is a citizen of Utah. Defendant Chartraw is a citizen of California.

 6 Defendant Titan is a citizen of California. Accordingly, complete diversity exists

 7 between Plaintiff and Defendants.

 8       17.     The amount in controversy requirement of 28 U.S.C. § 1332 is satisfied
 9 because more than $75,000 is at issue, exclusive of costs, interest, and attorneys’ fees.

10       18.     Jurisdiction pursuant to 28 U.S.C. § 1331 is concurrently established
11 pursuant to the RICO claim under 18 U.S.C. § 1961, et seq. The Court has supplemental

12 jurisdiction over the state law claims because they are sufficiently related to the RICO

13 claim, and they form the same case and controversy.

14       19.     This action properly lies in the Central District of California pursuant to
15 28 U.S.C. § 1391 and 18 U.S.C. § 1965. A substantial part of the events or omissions

16 giving rise to the claims occurred here. Defendant Messner is subject to specific and

17 general personal jurisdiction in California because Messner’s contacts with this forum

18 state, including 41 practicing California attorneys and 21 partners who are California

19 citizens, are continuous and pervasive such that it is fair to subject Messner to personal

20 jurisdiction in California for all purposes. Defendant Welch is subject to specific

21 personal jurisdiction in California because he carried on a business and committed

22 unlawful, unfair, and fraudulent business acts and practices in this state, both

23 individually and as part of an enterprise with two California citizens. Defendants

24 Clearwater, Chartraw, and Titan are citizens of California and are therefore subject to

25 specific and general personal jurisdiction in California.

26       20.     Venue is appropriate in this court.
27       21.     All conditions precedent to bringing this lawsuit, if any, have occurred,
28 been excused, or waived.

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 1                          FACTS COMMON TO ALL COUNTS
 2       22.       Plaintiff incorporates by reference the preceding paragraphs as if fully set
 3 forth herein.

 4       23.       Defendants operated under the guise of common representation by
 5 Defendants Messner and Welch, while acting at the direction of a convicted felon and

 6 known fraudster, Chartraw. Defendants stole Plaintiff’s escrow funds in a manner

 7 strikingly similar to Chartraw's previous criminal activities, which led to his wire fraud

 8 conviction and a 57-month federal prison sentence.

 9       24.       Plaintiff was one of at least five victims whose money was stolen pursuant
10 to the predicate acts of wire fraud committed by Defendants.

11       25.       On or about the dates listed below, for the purpose of executing and
12 effectuating the scheme and artifice to defraud as discussed herein, and attempting to

13 do so, Defendants, as more specifically set forth herein, knowingly transmitted and

14 caused to be transmitted by means of wire communication in interstate commerce

15 certain writings, signs, signals, pictures and sounds.

16
          Predicate Date of Wire          Wire       Victim              Receiving
17        Act                             Amount                         Account
          1         April 27, 2023        $2,000,000 Plaintiff           Northern Trust
18
                                                                         x-[redacted]
19        2            June 13, 2023      $700,000   Emerald             Northern Trust
                                                     Consulting          x-[redacted]
20
                                                     Partners, LLC
21        3            June 19, 2023      $1,145,000 MSC           Northern Trust
22
                                                     Companies,    x-[redacted]
                                                     LLC
23        4            June 29, 2023      $3,500,000 Abbson LLC Northern Trust
24                                                                 x-[redacted]
          5            August 1, 2023     $325,000   Konala, LLC Northern Trust
25                                                                 x-[redacted]
26        Total                           $7,670,000

27       26.       Plaintiff operates a Kosher food business, and, in early 2023, Plaintiff
28 sought financing for the expansion of his business.

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 1       27.     Defendant Messner is a law firm with 129 attorneys in 11 offices and 20
 2 practice groups, including banking and financial services.

 3       28.     Defendant Clearwater is a shell Wyoming entity created on May 24, 2022.
 4       29.     Defendant Titan is a shell Wyoming entity created on November 7, 2023.
 5       30.     Defendant Welch is the managing partner of Messner’s Utah office.
 6       31.     Defendant Chartraw is a convicted felon and parolee who continues to
 7 involve himself in fraudulent theft schemes.

 8       32.     Defendant Welch has been a Messner partner since 2006, and according
 9 to the Messner website, Welch specializes in complex business transactions worldwide,

10 providing practical, solutions-oriented operations and general counsel services to help

11 clients achieve their business goals. Welch’s practice areas include real estate, finance,

12 international business, lending/banking, tech, hospitality, and sports.

13       33.     Messner states on its website that Welch is “a top-rated attorney with the
14 skills, knowledge, and experience to help his clients navigate the complexities of legal

15 matters.” Messner claims that Welch’s diverse experience, practical approach, and

16 unique legal perspective make him an invaluable asset to any client. The website also

17 highlights Welch’s achievements in negotiating and closing a 10-figure financing deal

18 for an entertainment and hospitality resort and negotiating and acquiring $100 million

19 of bonds in the oil and gas industry.

20       34.     At all relevant times, all actions taken by Welch, as discussed herein, are
21 attributable jointly and severally to Messner, who failed to supervise Welch or

22 demonstrate oversight over his conduct.

23
         I.     Defendant Messner Undertook Representation in Connection with a
24              Failing and Increasingly Fraudulent Attempt to Build a Sports and
                Entertainment Arena in Las Vegas.
25

26       35.     Approximately 10 years ago, a former college basketball player named
27 Jackie Robinson, who had recently filed for bankruptcy, sought to build a massive

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 1 sports and entertainment megaplex in Las Vegas. Robinson also played in the NBA for

 2 three seasons, averaging 3.8 points per game in 76 total games.

 3       36.    Robinson filed for bankruptcy twice in 2012, and on both occasions, he
 4 attested under penalty of perjury that he had no income or assets whatsoever. In re:

 5 Jackie L. Robinson, 2:2012-bk-16189; In re: Jackie L. Robinson, 2:2012-bk-21635.

 6 Robinson is subject to an unpaid seven-figure judgment dating back to 2013, which has

 7 not been discharged, and he is a defendant in multiple cases.

 8       37.    Insisting on building the arena megaplex named All Net Resort & Arena,
 9 despite the lack of demand, the opening of two other arenas in the same Las Vegas

10 area, and the absence of an NBA team in Las Vegas, Robinson was the principal of All

11 Net, LLC, also known as the Dribble Dunk project (collectively, “All Net”).

12       38.    Messner and Welch represented All Net as project counsel, and Messner
13 represented Robinson individually.

14       39.    Messner and Welch also represented Clearwater, a fraudulent outfit that
15 purportedly became an “equity partner” in the All Net project.

16       40.    Clearwater’s website, which has since been deleted and concealed, falsely
17 referred to the company as a “Global Family Office” with generic stock photos and

18 without identifying names or contact information for anyone. The non-existent family

19 office was supposedly located at 30 North Gould Street, Sheridan, WY, 82801, but

20 Clearwater never had any office in Wyoming or any other place. Clearwater was merely

21 the latest iteration of the string of shadowy and dubious endeavors of Chartraw and his

22 long-time business partner, Owen.

23       41.    On May 24, 2022, when Clearwater came into existence, the All Net
24 project was a disaster, having burned through $37 million with virtually no progress on

25 the construction. Numerous creditors had sued All Net, mechanics liens and unpaid

26 judgments littered the record, and All Net was unable to pay rent.

27       42.    All Net was unable to obtain financing for the flailing project, and
28 Robinson had taken to making blatant misrepresentations to the Las Vegas Zoning

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 1 Commission (the “Commission”) to obtain extensions of the perpetually elapsing

 2 construction deadlines.

 3       43.     On May 8, 2019, five years into the project, with virtually no construction
 4 completed, Robinson falsely represented to the Commission that All Net secured $3

 5 billion in financing through the International Bank of Qatar via Credit Suisse with the

 6 assistance of Willis Thomas Watson. Robinson stated that he signed documents in

 7 Zurich to secure the $3 billion and he falsely claimed that All Net would have the

 8 financing by the end of May 2019.

 9       44.     Robinson asserted that the project managers would not walk away because
10 $37 million had been spent on the project.

11       45.     On June 5, 2019, Robinson appeared again before the Commission and
12 contradicted his May 8, 2019, representation about funds being at Credit Suisse in

13 Zurich, as this time Robinson claimed that the funds were transferred through

14 Commerzbank in Frankfurt instead of Credit Suisse in Zurich. Neither scenario was

15 true, as no funds existed.

16       46.     On the same day, Robinson told the Commission that he would provide a
17 bank statement the following week with proof of funding. Robinson never provided a

18 bank statement.

19       47.     That same day, Robinson also stated that All Net intended to purchase the
20 property for $400 million “within the next few weeks” and that he would provide a

21 bank statement the following week with proof of funding. No purchase occurred, and

22 Robinson never provided a bank statement.

23       48.     The insolvent All Net project’s initial budget of $1.3 billion in 2014
24 increased to $3 billion in 2019, to $4 billion in 2021, and to $4.9 billion by 2022.

25       49.     The outlandish $4.9 billion budget for the 27-acre property is nearly
26 double the cost of the $2.7 billion spent on the Wynn in Las Vegas, which is 10 times

27 the size over 215 acres.

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 1       50.    Lawsuits against All Net continued as the project could not pay its bills.
 2 In May 2022, All Net signed a settlement agreement, committing to pay the $17 million

 3 that it owed for excavation work, but All Net failed to make the payments even pursuant

 4 to the settlement agreement, and on September 19, 2023, a $17 million confession of

 5 judgment was entered against All Net, on which interest accrued at $141,666 per

 6 month. Las Vegas Paving Corp. v. All Net Land Development, LLC, et al., Clark

 7 County District Court, case no. A-18-771361-B.

 8       51.    As additional creditors sued the All Net entities, the possibility of actual
 9 financing further diminished, as the property was mired in six pages of lawsuits,

10 judgments, liens, and notices of lis pendens. Ex. A.

11       52.    On March 22, 2021, All Net signed a new lease through December 31,
12 2021, with an option to purchase the 27-acre property, obligating All Net to pay

13 monthly rent of $100,000 plus utilities (the “2021 Lease”). Ex. B.

14       53.    The 2021 Lease conferred upon All Net the option to purchase the
15 property for $400 million if the option were to be exercised before July 31, 2021. The

16 2021 Lease provided that the option period could be extended for a fee of $250,000 per

17 month during the extension period.

18       54.    In addition to the $40 million that All Net says it spent by 2022, plus more
19 than $20 million that it owed creditors, All Net had also earmarked over $50 million in

20 developer fees, which would not be paid if the project was shut down.

21       55.    As of 2022, All Net was in arrears on its lease payments, had not exercised
22 its option, and its debts were growing while the possibility of financing was slipping

23 away.

24
         II.   As an Act of Desperation, Defendant Messner brought in Chartraw, a
25             Convicted Felon and Notorious Fraudster, to Concoct Financing for
26             the Defunct Arena Construction Project.

27       56.    In 2012, while Robinson repeatedly filed for bankruptcy, Defendant
28 Chartraw was repeatedly stealing money pursuant to fraud schemes. Chartraw

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 1 concealed himself in Mexico as a fugitive, using the alias of James Murphy to evade

 2 multiple open criminal cases and warrants. The FBI captured Chartraw, extradited him,

 3 and held him without bail. The United States Attorney’s Office for the Eastern District

 4 of California indicted Chartraw on 18 counts of felony wire fraud. United States of

 5 America v. Daniel Chartraw, 2:12-cr-00184-MCE at ECF No. 11. Ex. C.

 6       57.     Per the indictment, between 2007 and 2011, Chartraw knowingly devised,
 7 participated in, and executed a multitude of white-collar fraud schemes to obtain money

 8 through false pretenses, misrepresentations, phony promises, and the concealment of

 9 material facts. The purpose of these schemes was to obtain money from individuals in

10 the form of loans, investments, and commodities. Chartraw had neither the intention,

11 ability, expertise, nor financial means to repay the loans or fulfill his promises to

12 prospective investors. Between 2007 and 2011, Chartraw collected approximately $2.4

13 million from investors.

14       58.     Chartraw’s criminal conduct, as detailed in the indictment and pursuant to
15 which he pled guilty, matches the criminal conduct perpetrated in this case.

16 Defendants’ crimes reflect Chartraw’s distinctive modus operandi.

17       59.     Chartraw’s indictment sets forth the following fraud schemes, whereby
18 the victim’s money is obtained through a false promise by the perpetrator to pay the

19 victim a larger amount later in exchange for a smaller payment by the victim to the

20 perpetrator. Pursuant to the scheme, the larger amount is never paid out, as the fraudster

21 simply steals the victim’s smaller payment and then lies about the larger future payment

22 to the victim.

23                              Dairy Financing Fraud Scheme
24       60.     Pursuant to the Dairy Financing Fraud Scheme, Chartraw fraudulently
25 obtained $200,000 as an “advance fee” on a purported loan, as Chartraw offered to loan

26 the victim $250 million from a bank that Chartraw claimed he controlled.

27       61.     Chartraw falsely represented that he owned a licensed and operational
28 offshore bank, that he had a $1.5 billion Euro certificate of deposit from Cascabel Bank,

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 1 and that the CD could be placed with the bank in connection with a “trading program”

 2 that would generate sizeable returns. Chartraw fraudulently obtained the $200,000

 3 from the victim, he never issued or facilitated the issuance of any loan, and instead, he

 4 used the $200,000 for his own personal expenses.

 5                               Gold Refinery Fraud Scheme
 6       62.     Pursuant to the Gold Refinery Fraud Scheme, Chartraw fraudulently
 7 obtained a $100,000 “advanced fee” from the victim by promising to secure a

 8 $10,000,000 loan from the so-called Cascabel Bank, which Chartraw claimed was a

 9 licensed operational offshore bank that Chartraw owned in part.

10       63.     Chartraw did not issue or facilitate the issuance of any loan, and instead,
11 he used the $100,000 for his own personal expenses.

12                                 Dore Bar Fraud Scheme
13       64.     Pursuant to the Dore Bar Fraud Scheme, Chartraw fraudulently obtained
14 $1,000,000 from the victim in exchange for the purchase of “dore bars” from a

15 company named AZ Rock Holdings which Chartraw claimed contained precious

16 metals.

17       65.     Chartraw falsely stated that he and an accomplice were officers of AZ
18 Rock Holdings and that the $1,000,000 would be placed in an escrow account in the

19 name of Chartraw’s accomplice. However, the account that received the escrow money

20 was actually controlled by Chartraw and the accomplice.

21       66.     In furtherance of the fraud scheme, Chartraw falsely represented to the
22 victim that his money would be safely held in an escrow account at J.P. Morgan Chase

23 Bank in the name of 1st National Title Insurance Agency.

24       67.     Chartraw then presented false and forged documents to 1st National,
25 inducing the escrow agent to wire $1,000,000 to personal accounts controlled by

26 Chartraw and his accomplice, including a trust account.

27       68.     Chartraw and his accomplice then used the funds for their own personal
28 expenses.

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 1                              Trading Platform Fraud Scheme
 2       69.     Pursuant to the Trading Platform Fraud Scheme, Chartraw fraudulently
 3 obtained $113,258 from the victim by falsely stating that the money would be invested

 4 in a “trading platform” at a bank where it would generate 15 per cent interest every 30

 5 days before being returned after 90 days.

 6       70.     No such platform existed.
 7       71.     Chartraw then used the funds for his own personal expenses.
 8                      Gold Refining Equipment Loan Fraud Scheme
 9       72.     Pursuant to the Gold Refining Equipment Loan Fraud Scheme, Chartraw
10 fraudulently obtained loans from three different victims, totaling $150,000, by falsely

11 telling the victims that Chartraw was a wealthy individual who was asset rich but cash

12 poor and that he owned a gold mine.

13       73.     Chartraw falsely stated that the loan proceeds would be used to make a
14 lease payment on gold refining equipment and that in return for the loans, Chartraw

15 would transfer a quantity of gold to the victim as collateral and repay the loan plus six

16 percent within five days.

17       74.     Chartraw falsely stated that he shipped the gold, and he provided a
18 fraudulent bill of lading.

19       75.     Chartraw then proceeded to use the money for his own personal expenses.
20       76.     In this scheme, Chartraw used his attorney to bolster the legitimacy of
21 Chartraw’s fraud.

22       77.     At Chartraw’s behest, his attorney at the time, who was later sued by the
23 victims, and punitive damages were sought, circulated an “attestation letter” or

24 “attorney comfort letter” echoing the false statements made by Chartraw to his victims.

25 Gimenez v. Law Offices of Hoffman & Hoffman, et al, United States District Court for

26 the Eastern District of New York, 2:12-cv-00669-JFB-ETB, ECF Nos. 25, 26.

27       78.     As a result of Chartraw’s representations, and the representations of his
28 attorney, both of which were false, the victims tendered their money to Chartraw’s

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 1 attorney’s trust account. The attorney then distributed the victims’ money to Chartraw

 2 to complete the wire fraud.

 3                             Movie Production Fraud Scheme
 4       79.     Pursuant to the Movie Production Fraud Scheme, Chartraw fraudulently
 5 obtained a $100,000 “advanced fee” from the victim movie producer who was seeking

 6 financing for a movie.

 7       80.     Chartraw falsely offered to fund the victim’s movie in the initial amount
 8 of $500,000 with a further agreement to provide $350 million in funds, with the sole

 9 caveat that he would need a $100,000 fee from the victim producer to allow the use of

10 a $100 million certificate of deposit to generate revenue for the financing.

11       81.     Chartraw falsely claimed that he had a $100 million certificate of deposit
12 with Cascabel Bank and that he would use the $100,000 from the victim for fees

13 associated with the $100 million CD.

14       82.     Chartraw then proceeded to use the money for his own personal expenses.
15       83.     Six months before Chartraw was apprehended by the FBI in Mexico under
16 the alias James Murphy, Chartraw was facing three open criminal cases in Monterey

17 County Superior Court in California, including felony charges of grand theft,

18 embezzlement, and corporal injury on a spouse.

19       84.     On September 12, 2013, after he was extradited and held without a bond,
20 Chartraw pled guilty to wire fraud and was sentenced to four years and nine months in

21 federal prison.

22       85.     On September 22, 2014, Chartraw concurrently pled guilty in state court
23 to breaking his estranged wife’s nose in the car after a baseball game in May 2011 in

24 front of their four children and another child.

25       86.     For that incident, Chartraw was also charged with violating a restraining
26 order resulting from a previous domestic violence conviction out of El Dorado County

27 in 2009. Chartraw was sentenced to seven years in state prison to run concurrent with

28 his four-year and nine-month sentence in federal prison.

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 1        87.     When Chartraw was released from prison, and to this day, Chartraw is still
 2 subject to multiple civil judgments, including a $17,277,524 judgment dated March 25,

 3 2010, which has not been satisfied.

 4
          III.   Lacking a Legitimate and Lawful Method of Financing the All Net
 5               Project, Defendants Deploy a Fraudulent Scheme to “Monetize”
 6               Worthless Bonds.

 7        88.     The enterprise consists of Messner, Clearwater, Welch, and Chartraw, and
 8 each Defendant played a defined role in each act of fraud as stated herein.

 9        89.     Defendants came together in mid-2022 initially as part of their futile
10 attempt to “monetize” worthless bonds.

11        90.     Deviating from the usual role of counsel, Welch publicly stated that his
12 role with All Net is to “raise the financing” for the project.

13        91.     With the All Net project clearly unable to raise funds through legitimate
14 channels, the fraudulent bond scheme was underway by August 2, 2022. On that date,

15 Welch signed a letter on Messner letterhead confirming that Messner and Welch

16 represent Clearwater and its sole member, Owen, as well as Clearwater Premiere

17 Perpetual Master Trust, Global Infrastructure Finance & Development Authority, Inc.

18 (“GIFDA”), and GIFDA’s controlling shareholder Shah Mathias.1

19        92.     On September 8, 2022, Welch also signed a letter on Messner letterhead,
20 reflecting that Messner and Welch represent Mathias’ company, Ameri-Metro, Inc.

21 (“Ameri-Metro”) in connection with a purported $60 billion bond supposedly “owned

22 by Clearwater, a Wyoming limited liability company with Todd Owen as its sole

23 member.” Ameri-Metro’s prior counsel had been disbarred. The date of Welch’s letter

24 of representation is established by the metadata, as it is otherwise undated. As discussed

25 herein, the shell company Clearwater never owned any asset worth $60 billion.

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28    Mathias has previously filed for bankruptcy and has been involved in many litigation
     matters. He is subject to a significant number and scale of judgments and liens.
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 1       93.     In the September 8, 2022, letter, Welch proclaimed that “Clearwater
 2 acquired rights to the Bond Certificate pursuant to that certain Transfer Agreement

 3 between it and GIFDA dated March 29, 2022, a copy of which is publicly available at

 4 https://www.sec.gov/Archives/edgar/data/1534155/000089109222001164/ex99-

 5 5.htm.”

 6       94.     As reflected in the hyperlinked March 29, 2022, Transfer Agreement,
 7 which predates the May 26, 2022, existence of Clearwater, the so-called consideration

 8 tendered by Clearwater for the purported bond (the so-called $60 billion asset) is the

 9 parties’ agreement that Clearwater “shall monetize and create project funding for the

10 Asset.”

11       95.     Accordingly, the “consideration” tendered by Clearwater is the assertion
12 by Clearwater that it would attempt to “monetize” the worthless bond.

13       96.     The subject matter of the purported bonds, or sub-bonds, pertains to 23
14 shell companies, all controlled by Mathias with generic names, no operations, and no

15 revenue, and that loosely pertain to infrastructure. The ridiculous $459.5 billion

16 valuation reflected in the bond paperwork is based on contracts entered into between

17 Mathias’s GIFDA or Ameri-Metro and Mathias’s other shell entities. Essentially,

18 Mathias signed pieces of paper reflecting “contracts” between his own companies,

19 none of which had any operations or revenue. Mathias then proclaimed that such pieces

20 of paper are “assets” and Clearwater, with the assistance of Messner, asserted that they

21 could “monetize” those “assets” by selling the bonds backed by the worthless “assets.”

22       97.     On July 13, 2022, the Delaware Court of Chancery confirmed that Ameri-
23 Metro and its related shell companies have no revenue or operations. Lentz v. Mathias,

24 et al., case no. 2022-0374-JTL.

25       98.     Despite the absence of revenue and operations, Ameri-Metro filed a
26 fraudulent    10-K reflecting $510 billion in “construction contracts,” and
27 “Comprehensive Income of $6.938T (trillion)” in the form of purported “unrealized

28 gain on available-for-sale securities.”

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 1       99.     In 2022, Mathias presented Ameri-Metro’s shareholders with a phantom
 2 tender offer, ostensibly from Owen, Clearwater’s sole principal—who lives in a modest

 3 single residence with a mortgage—whereby the tender offer price would correspond to

 4 a capital valuation in the amount of $20,240,090,812,480.

 5       100.    The ridiculous $20,240,090,812,480 figure is nearly the size of the United
 6 States annual gross domestic product, and it corresponds to worthless shell entities with

 7 no operations or revenue.

 8       101.    The Delaware Court of Chancery charitably described the machinations
 9 by Ameri-Metro, Messner’s client as of 2022, as those of a “classic Ponzi scheme.”

10       102.    Working essentially on commission and engaging in unlicensed securities
11 brokerage at best, the agreement between Clearwater and Ameri-Metro, both clients of

12 Messner and Welch, was that Clearwater would be entitled to receive 50% of the capital

13 raised by Clearwater pursuant to Clearwater’s efforts to “monetize” the nonsense

14 bonds.

15       103.    While Owen was the “frontman” for Clearwater, Chartraw ran
16 Clearwater’s operations.

17       104.    The enterprise, consisting of Messner, Welch, Clearwater, and Chartraw,
18 was focused on concocting phony notions of financing for the purpose of misleading

19 and deceiving the Commission into allowing All Net to have yet another extension of

20 time to commence the stalled construction in Las Vegas.

21       105.    The Commission vote was to occur during the upcoming November 16,
22 2022 meeting.

23       106.    On October 12, 2022, Welch directed his associate, J.B., who has since
24 left his employment at Messner, to enter so-called bond information on a Bloomberg

25 terminal pertaining to the shell companies with a June 30, 2052 maturity date. No

26 evidence exists that anyone invested in the worthless bond.

27       107.    The typing of the information into the Bloomberg terminal by a Messner
28 employee was the basis for Defendants, and particularly Clearwater, to fraudulently

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 1 proclaim that they now supposedly possess “assets” to finance the All Net project in

 2 the amount of $5 billion.

 3       108.    On October 19, 2022, the All Net project principals, including Robinson,
 4 Clearwater through Owen, and Messner through Welch, held a press conference.

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11       109.    The video appears to reflect Defendant Chartraw’s presence sitting in the
12 front row, as acknowledged by Owen as Clearwater’s “team.”

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                LinkedIn               October 19, 2022             Facebook
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20       110.    At the press conference, Robinson stated, “[w]hen you’re talking about
21 billions… we had to bring things on, add things on according to the financing and also

22 the feasibility.”

23       111.    Owen stated, “[t]he financing before always came to a stall because of the
24 actual assets. We are bringing the assets. Clearwater is bringing them to the table to be

25 able to put the financing together, finally.”

26       112.    Welch stated, “[o]ver the last year, the inflation numbers have kind of
27 changed the numbers a little bit, so that made the sell a little more difficult, and

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 1 construction issues did that, but we were able to find somebody that was able to oversee

 2 those and say, ‘Hey, this is gonna work this time.’”

 3       113.    Interviewed together on October 19, 2022, side by side, directly after the
 4 press conference, Welch and Owen stood together as Owen stated, “we’re bringing the

 5 missing piece of this puzzle to the table, which is assets.”

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12       114.    On November 16, 2022, the same Messner associate who entered the bond
13 information a month earlier, J.B., appeared before the Commission, as directed by

14 Welch, and the Messner associate falsely stated, at Welch’s direction, that “financing

15 has been secured for the Dribble Dunk [All Net] project.”

16       115.    The associate referred to Welch’s letter dated November 7, 2022, in which
17 Welch referred to a “line of credit” issued by Messner’s client, Clearwater, to

18 Messner’s other client, All Net, for “up to $7 billion dollars.”

19       116.    The Messner associate stated that the “bonds” were “placed” with a
20 Malaysian company named PG Asia Investment (“PG Asia”), and as a result, PG Asia

21 provided All Net with a “funding commitment letter” confirming funding “in the

22 amount of $5 billion dollars to Clearwater.”

23       117.    Referring to the November 15, 2022, PG Asia letter, the Messner associate
24 stated, “I wanna let the Board know that it's signed by the Financial Director of the

25 bank. It's printed on bank letterhead and – uh - is as good as cash.” Ex. D.

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14      118.    The PG Asia letter that the Messner associate presented to the
15 Commission is a blatantly forged and fraudulent document.

16      119.    PG Asia placed an Attempted Fraud Alert Notice on its website:
17        It has come to our attention that PG Asia Investment Bank Ltd’s logo
18        and email has been used by unauthorised third parties without our prior
          knowledge nor approval for various correspondences including but not
19        limited to the issuance of bank comfort letters, confirmation of bank
20        accounts opening and other documents. These documents may be
          targeted at misleading and/or deceiving the public…
21

22        PG Asia Investment Bank Ltd is not in any way associated or involved
          in the financing of the All Net Resort & Arena project in Las Vegas,
23        United States of America (the “Project”). We have neither approved nor
24        issued any financial instrument/s to support any institution/s involved
          in the Project.
25

26 https://www.pgaib.com/ (visited June 18, 2024).

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 1       120.    Even a cursory analysis of the PG Asia letter reflects its fraudulent nature.
 2       121.    The signer’s name on the letter is “William Murphy,” which is similar to
 3 the “James Murphy” alias used by Chartraw when Chartraw was a fugitive in Mexico.

 4 In two of Chartraw’s prior fraud schemes, Chartraw falsely asserted that he was an

 5 owner of an offshore bank named Cascabel Bank.

 6       122.    William Murphy is not a name typically associated with someone living
 7 in the region where PG Asia is purportedly located. A Google search reveals no

 8 evidence that anyone named William Murphy is the Financial Director and CFO of PG

 9 Asia Bank, nor that anyone by that name could issue a $5 billion letter of credit on

10 behalf of PG Asia.

11       123.    The telephone number on the letter, (631) 375-0701, is a local New York
12 number publicly reflected on a vendor website that has no connection to PG Asia.

13 https://fedlinks.com/profile/William-Murphy-Inc--Amityville-NY (visited June 18,

14 2024). When that number is called, there is no answer, and an anonymous automatic

15 prompt of “the wireless customer you are trying to reach is not available” is played.

16       124.    The purported domestic office on the letter is 233 S. Wacker Dr. 67th
17 Floor, Chicago, IL 60606. This is the address of The Metropolitan private social club,

18 which has no connection to PG Asia.

19       125.    At the November 16, 2022 hearing before the Commission, as a follow up
20 to the false representations by the Messner employee about the bonds and the PG Asia

21 letter, Robinson falsely told the Commission that bonds, which had been logged into a

22 Bloomberg terminal one month earlier by the Messner associate, were purportedly

23 “backed by the Federal Government.”

24       126.    Defendants’ forged letter and false statements had the intended effect, as
25 the Commission narrowly voted by a 4-3 margin on November 16, 2022 to extend the

26 All Net project for another year.

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 1       IV.    Defendants Engage Brokers in a Scheme to Obtain Capital for the All
 2
                Net Project, Leading to the BELOC Scheme.

 3       127.    As of November 17, 2022, Defendants engaged brokers in their attempt
 4 to monetize the worthless bonds for the All Net project.

 5       128.    By December 6, 2022, Defendants disseminated at least eight bond-
 6 related documents to brokers, including A.S. and others, as the enterprise engaged

 7 brokers to find victims in connection with the fraudulent and increasingly unlawful

 8 attempts to finance the All Net project.

 9       129.    Defendants provided the following eight documents to the brokers, and
10 Defendants dispatched the brokers to disseminate the documents to others:

11        CUSIP Global Services CL Malibu ($60bn) 8-2-2022. August 2, 2022
12            letter from Welch on Messner letterhead referring to a $60 billion
              Malibu Homes, Inc. bond.
13                    We serve as bond counsel and bookrunner for Global
14            Infrastructure Finance & Development Authority, Inc., Clearwater
              Premiere Perpetual Master Trust, Clearwater Premiere Perpetual
15            Master, LLC, Todd Owen and Shah Mattias (collectively,
16            “Clients”) as the sponsor/issuers of the above-referenced Bonds.
                      The purpose of this communication is to set forth our
17            Opinion regarding that aforementioned Bonds that satisfy the
18            requirements applicable for the issuance of CUSIP/ISIN numbers
              from CUSIP Global Services (“CGS”) and other legal requirements
19            for the transactions contemplated therein.
20
          Executive Summary - January 2022_. Promotional summary of the All
21             Net project dated January 2022.
22
           ALL NET_ProForma Financial Model.11-447.v05.xlsx - All Net
23             project financial projections, updated as of November 30, 2022 per
24             the metadata.

25        Phoenix Project Intake Form. Dated November 17, 2022.
26
          Borrower Resume. Reflecting principals of the All Net project, dated
27             December 2, 2022.
28

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 1         ANLD DD Reinstatement LWOP August 2022. Dated August 26, 2022,
 2
               indicating that the All Net March 22, 2021 Lease, as amended on
               May 25, 2021, had expired, the option to purchase had expired, and
 3             All Net was in arrears $1,300,000 in rent plus $350,000 in legal
 4             fees. Moreover the list of judgments, liens, and notices of lis
               pendens on the property and the project is six pages long.
 5

 6         $500_Million_Use_of_Funds_. Reflecting a proposed disbursement
                schedule for the first $500,000,000 in funding for the All Net
 7              project. Dated November 30, 2022 and prepared by a All Net
 8              principal.

 9         $60bn GIFDA Clearwater Bond Package. Dated September 8, 2022 and
10              characteristically wiped of metadata, consistent with the practice of
                Messner. This is a 233-page document reflecting the closest
11              approximation of a prospectus on the Malibu Homes Master Trust
12              Indenture.

13       130.    Messner’s rendering of its “legal opinion” on the propriety of the bonds
14 was not based on legitimate legal analysis, it was done in furtherance of the unlawful

15 scheme.

16       131.    Messner and Welch, who were in charge of obtaining financing for the All
17 Net project, disseminated the misleading attachments to brokers, without a prospectus,

18 and with the intention of deceiving victims in furtherance of a scheme.

19       132.    On February 10, 2023, the Messner associate, J.B., emailed a link to the
20 “data room” for the purported $60 billion bond data to the broker, D.F., copied to

21 Welch.

22       133.    On February 13, 2023, Mathias, on behalf of Ameri-Metro and all the shell
23 companies corresponding to the bonds, referred to conversations with Chartraw, who

24 was acting on behalf of Clearwater, and Mathias sent a termination letter addressed to

25 Chartraw’s attention and captioned to Clearwater, among others. Ex. E.

26       134.    Per the February 13, 2023 Termination Letter, Mathias severed ties and
27 terminated all agreements, collaboration, and bond assignments between Ameri-Metro

28 and its shell entities and Clearwater and its affiliates.

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 1      135.    The February 13, 2023 Termination Letter “irrevocably decommissioned
 2 and terminated” all bond rights relative to Clearwater, Messner, Chartraw, and Owen.

 3      136.    Defendants did not inform the brokers of the Termination Letter.
 4      137.    In fact, on February 20, 2023, seven days after the February 13, 2023
 5 Termination Letter was issued, Welch acted as if no termination had occurred as he

 6 emailed brokers M.H. and M.C., copied to J.B. and Owen, continuing to promote the

 7 fraudulent monetization of the worthless Ameri-Metro bonds.

 8      138.    On February 20, 2023, Welch provided the brokers with a link to the Bond
 9 Information Data Room, “which includes the due diligence and additional information”

10 and attachments including a KYC/CIS for Clearwater, which was referred to as “owner

11 of the bonds.”

12      139.    The documents attached to Welch’s February 20, 2023 email are as
13 follows:

14        TODD KYC CIS OCTOBER 18 2022. Dated November 3, 2022.
15
              Addressed anonymously to “Trade Authority / Program Manager.”
              Per Owen’s sworn statements, Messner is holding $60 billion of
16            Clearwater’s funds in “safe keeping.” Owen’s source of funds
17            affidavit does not indicate how the $60 billion was obtained. But it
              states that there are no liens or encumbrances of any kind. The bond
18            is not identified by CUSIP number or any other identifier.
19            Moreover, at best, Clearwater only owned 50% of the non-existent
              monetization of the bond. And those rights were revoked on
20            February 13, 2023.
21
          CIS 9-21-2022. Dated November 3, 2022. Identifies Owen’s personal
22             information, including related financial information.
23
          USCG Intake Form - Clearwater Bond Monetization 2-20-2023.
24            Dated February 20, 2023.
25

26      140.    When Welch sent this email to the brokers on February 20, 2023, he knew
27 that neither Clearwater nor Owen had any ownership or rights associated with the

28 purported $60 billion bond, which was worthless anyway.

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 1       141.    Welch intended for the brokers to act as conduits in relaying Welch’s false
 2 representations regarding the ownership of the bonds, and on February 20, 2023, broker

 3 M.H. relayed the information provided by Welch to broker D.F. Welch subsequently

 4 engaged the same brokers in connection with Defendants’ BELOC fraud scheme.

 5
          V.     Defendants Conspire and Effectuate a Pattern of Racketeering
 6               Activity by Committing Multiple Acts of Wire Fraud in Connection
                 with Phony Loans and Theft of Borrowers’ Escrowed Deposit Money.
 7

 8       142.    On September 26, 2022, a shell entity named INBE Capital LLC
 9 (“INBE”) was formed in Wyoming with an address, 30 North Gould Street, Sheridan,

10 WY, 82801, that was identical to Clearwater’s address.

11       143.    Like Clearwater, INBE was represented by Messner and Welch.
12       144.    By March 2023, with eight months remaining before the November 21,
13 2023 Commission vote on a final All Net extension, Defendants knew that the Bank of

14 Qatar story was false, their PG Asia letter was a forgery, their bond gambit was defunct,

15 they had no lawful manner in which to raise money for the doomed All Net project,

16 and the financial pressure of All Net’s unpaid obligations was mounting. Moreover,

17 the All Net project owed Messner a substantial amount of money in unpaid legal fees.

18       145.    Defendants Messner, Welch, Clearwater, and Chartraw conspired to form
19 a structure pursuant to which the enterprise would operate.

20       146.    The roles of Messner and Welch included acting as legal counsel for co-
21 conspirators Clearwater and Chartraw, as well as INBE. As such, Messner and Welch

22 would draft the key legal documents. Because Messner and Welch represented

23 Clearwater, Chartraw, and INBE, as well as All Net and Robinson, communications

24 among the parties could be considered privileged under the attorney-client privilege.

25 This would provide cover, and it would make it more difficult for parties to obtain

26 communications in discovery. In addition, Defendants took steps to communicate

27

28

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 1 through shrouded means, such as via Signal, which is an app that provides end-to-end

 2 encryption of messages.2

 3        147.   Moreover, Messner’s prominent involvement in the scam, posing as an
 4 escrow holder under the guise of a reputable law firm, provided the essential security

 5 and reassurance that the borrowers’ escrow money would be safe in Messner’s trust

 6 account.

 7        148.   As further discussed herein, Welch and Messner also revised a fraudulent
 8 Business Expansion Line of Credit (“BELOC”) document on April 20, 2023.

 9        149.   The April 20, 2023 Messner version of the BELOC document, which was
10 used to defraud Plaintiff and the other victims, is sourced to a January 21, 2023 Word

11 version of the BELOC pertaining to Prime Capital Ventures, LLC (“Prime”) as the

12 lender.

13        150.   A “blackline comparison” of the April 20, 2023 Messner BELOC and the
14 January 21, 2023 Prime BELOC reveals few substantive changes, except for (1)

15 Messner’s removal of a real estate collateral requirement, and (2) Messner’s inclusion

16 of Messner as the Trustee to serve as the escrow holder of the Interest Credit Account

17 deposit (“ICA”).

18        151.   Messner’s revisions made the Messner BELOC even more pernicious,
19 enticing, and dangerous to the public than the Prime BELOC. In the Messner BELOC,

20 Messner falsely promised that the victims’ money would be “held by a nominated

21 Trustee (attorney) [Messner]” and that the ICA deposit “shall be in Trustee [Messner]’s

22 sole possession and control.”

23        152.   In contrast, the Prime BELOC provided no such assurances of escrow
24 account safekeeping by a reputable law firm.

25

26

27
     2
28    Ample evidence exists to establish the crime-fraud exception to the attorney-client
     privilege when the appropriate time arises.
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 1       153.     On May 31, 2024, Prime’s owner was arrested and charged with wire
 2 fraud.    https://cbs6albany.com/news/local/prime-capital-ventures-owner-arrested-on-
 3 wire-fraud-charge-queensbury-albany-kris-roglieri (visited June 17, 2024). The

 4 charges against Prime’s owner reflect an ICA deposit fraud scheme nearly identical to

 5 the scheme perpetrated by Defendants. Ex. F.

 6       154.     Messner was further motivated by other factors and conflicts of interest,
 7 as Messner was also a creditor of All Net, to which All Net owed attorneys’ fees.

 8 Therefore, Messner stood to gain and would be positioned to be paid if All Net came

 9 into money, regardless of the source.

10       155.     Clearwater’s role in the enterprise included its status as an equity partner
11 of All Net. Clearwater had purportedly made a financial investment in the All Net

12 project, and thus, it would benefit from any increased likelihood of the project moving

13 forward. The cancellation of the All Net project would be detrimental to Clearwater,

14 as it would result in the loss of whatever investment it had made. Additionally,

15 Clearwater could face litigation for any wrongdoing perpetrated by All Net and it may

16 have also owed attorneys’ fees to Messner, its counsel.

17       156.     In an earlier phase of Defendants’ pattern of misconduct, Clearwater
18 played the role of phony financier of the All Net project in multiple contexts.

19       157.     Despite Clearwater’s false assertions about a so-called “family office,”
20 Clearwater was operated by nobody except Chartraw and Owen. At all relevant times,

21 Chartraw’s actions were undertaken on his own account and on behalf of Clearwater.

22       158.     Chartraw’s role in the enterprise was to devise, formulate, and provide
23 operational functionality in carrying out the fraudulent scheme. Chartraw has extensive

24 experience in perpetrating wire fraud. His conduct since his release from prison, much

25 of it in connection with Clearwater’s member Owen, has been questionable at best, and

26 it has led to litigation.

27       159.     As discussed herein, Chartraw and Clearwater directed others to make
28 false representations on their behalf, including and particularly broker M.H. about the

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 1 purportedly forthcoming nature of money which Defendants knew had long since

 2 disappeared.

 3       160.     At all relevant times, Defendants’ intent has been specific, targeted, and
 4 willful.

 5       161.     Each of the principals—Welch for Messner, and Chartraw and Owen for
 6 Clearwater—is experienced, sophisticated, and willing to present fraudulent

 7 documents and narratives, including through others, to achieve their objectives.

 8       162.     The acts of wire fraud discussed herein are predicated on a scheme based
 9 on Defendants’ intent to defraud, use of the mail or wires to further that scheme,

10 together with artifice and deceit intended to deprive an owner of his or her property or

11 money.

12       163.     At all relevant times, Defendants’ acts in furtherance of the fraud scheme
13 affected interstate commerce.

14       164.     Defendants’ fraud scheme involved the use of a wire.
15       165.     Defendants’ fraudulent acts were not isolated, as those acts encompassed
16 a pattern of racketeering activity in pursuit of the same overarching scheme.

17 Defendants’ unlawful conduct is ongoing, and it poses a continuing threat to the welfare

18 of the general public unless stopped by judicial action.

19       166.     On March 22, 2023, Messner drafted a Memorandum of Cooperation
20 between Clearwater and INBE.

21       167.     On March 31, 2023, Messner drafted a Memorandum of Understanding
22 between Clearwater and INBE.

23       168.     These documents were intended to memorialize the basis of the agreement
24 among Messner, Clearwater, and INBE.

25       169.     INBE was being used as a pawn. INBE did not intend to loan millions of
26 dollars to small companies without a personal guarantee, without real estate collateral,

27 and pursuant to repayment only after ten years with six percent interest only paid during

28 the 10-year repayment timeframe.

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 1       170.    No rational lender would issue a loan on those terms, where the best-case
 2 scenario is essentially an inflation-adjusted return of zero percent and a risk of loss of

 3 the entirety of the principal amount of the loan.

 4       171.    Moreover, INBE never intended to, and did not, scrutinize the borrowers’
 5 creditworthiness pursuant to any genuine underwriting.

 6       172.    The intent of the scheme involving the phony loans was to obtain money
 7 from each victim deposited into Messner’s Northern Trust COLTAF escrow account

 8 as a purported ICA deposit from would-be borrowers.

 9       173.    Defendants intended to then steal the victims’ money by transferring it out
10 of the Messner trust account, while the victim/borrower was under the false belief that

11 INBE intended to issue a loan that would never be made.

12       174.    On April 10, 2023, Welch filed articles of organization for an entity named
13 INBE-Clear Capital Group, LLC with the Wyoming Secretary of State, reflecting a

14 principal address of 30 North Gould Street, Sheridan, WY 82801, the same location as

15 Clearwater and INBE.

16       175.    Welch was the sole organizer of INBE-Clear Capital Group, LLC, signing
17 his name with an email address of ddefalco@messner.com, corresponding to Welch’s

18 assistant and Messner employee, D.D. In a subsequent attempt to conceal his

19 wrongdoing, less than a year later, on March 29, 2024, Welch filed articles of

20 dissolution of this entity.

21       176.    On April 10, 2023, Messner drafted the Manager Appointment Resolution
22 of INBE-Clear Capital Group, LLC.

23       177.    On April 10, 2023, Messner obtained the EIN for INBE-Clear Capital
24 Group, LLC.

25       178.    On April 18, 2023, Messner drafted the Operating Agreement of INBE-
26 Clear Capital Group, LLC. In so doing, Defendants demonstrated their willingness to

27 form new joint ventures with one another in a manner not disclosed in the BELOC and

28 inconsistent with the representations made in the BELOC.

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 1       179.   On April 20, 2023, Messner revised the draft of the BELOC between
 2 INBE and Hard AF Seltzer, LLC (“Hard AF”).

 3       180.   The terms of the BELOC between INBE and Hard AF are the same
 4 substantive terms reflected in a January 21, 2023 BELOC document, confirmed by

 5 metadata, with Prime reflected as the lender.

 6       181.   A comparison between the January 21, 2023 Prime BELOC and the April
 7 20, 2023 BELOC draft, after edits made by Messner and which became the BELOC

 8 between INBE and Hard AF, reflects immaterial changes. The two documents are both

 9 sourced to the fundamental terms in the January 21, 2023 Prime BELOC, critically

10 including usage of the term “ICA” as a euphemism for an advanced fee.

11       182.   On April 23, 2023, Messner drafted the Joint Venture Partnership
12 Agreement between Clearwater and INBE.

13       183.   In connection with drafting and revising the fraudulent BELOC
14 document, which is based on the Prime draft, but with the enhancement featuring

15 Messner as emblematic of the safety of the ICA funds in escrow in Messner’s trust

16 account, Welch conspired and coordinated with Clearwater and Chartraw as

17 Defendants planned to steal Plaintiff’s money.

18       184.   The scheme which Defendants used to steal the victims’ ICA funds under
19 the BELOC scam closely resembles several schemes that Chartraw employed a decade

20 ago when defrauding his other victims.

21       185.   For example, the BELOC scheme with INBE is similar to the Dairy
22 Financing Fraud Scheme and the Gold Refinery Fraud Scheme in Chartraw’s

23 indictment because, in all three instances, the party committing the fraud falsely

24 promises the victim that the victim will receive a large loan on favorable terms in

25 exchange for payment of an advance fee to either the purported lender (Chartraw) or

26 another designated party (Messner in the current case).

27       186.   The victim then pays the advance fee or ICA money to the designated
28 recipient, expecting a loan to be subsequently issued. However, pursuant to the fraud

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 1 scheme, the loan is never made, and the victim’s escrow money is stolen and never

 2 returned.

 3       187.    The BELOC scheme is also similar to Chartraw’s Dore Bar Fraud Scheme
 4 because, in both instances, the victim is fraudulently induced to pay money to an

 5 escrow and then the escrow funds are never returned to the victim.

 6       188.    The BELOC scheme is similar to the Gold Refining Equipment Fraud
 7 Scheme because, in both instances, the party committing the fraud convinces the victim

 8 to pay a relatively small amount of money to the fraudster in exchange for the

 9 fraudster’s promise to pay the victim a large amount of money after receiving the

10 victim’s money. In both instances, the victim’s money was stolen, and no money was

11 paid to the victim.

12       189.    The BELOC scheme is also similar to the Movie Production Fraud
13 Scheme because, in both cases, the party committing the fraud deceives the victim into

14 paying the fraudster an “advanced fee” with the expectation that the fraudster will

15 subsequently issue a loan to the victim for substantially more than the amount of the

16 advanced fee. In both cases, the victims’ money was stolen, and no loan was made.

17       190.    Defendants dispatched INBE, as a purportedly authentic working capital
18 lender, to make representations on their behalf due to the joint venture between

19 Messner, Clearwater, and INBE. Messner also provided joint representation and

20 drafted the documents, including the BELOC itself.

21       191.    The BELOC is a false representation by Messner, made through INBE, to
22 the victim of each act of wire fraud.

23       192.    Defendants, including Messner as counsel, also coordinated to place false
24 information on INBE’s website.

25       193.    Defendants knew that Plaintiff and other victims would look at INBE’s
26 website and consider the information on the fraudulent INBE website in deciding

27 whether to provide ICA money to be held in escrow by Messner.

28

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 1       194.    Messner and Defendants were aware that the false presentation of INBE
 2 as an entity with substantial resources and capabilities as a lender would increase the

 3 likelihood that an ICA deposit would be made to Messner by a victim.

 4       195.    Although INBE was created on September 26, 2022, and had no material
 5 assets, Defendants, including Messner as counsel, orchestrated and presented false

 6 statements on INBE’s website to the public and the victims.

 7       196.    By December 3, 2022, just 68 days after INBE’s inception, the INBE
 8 website falsely claimed to have $13.36 billion in the “rapidly growing global

 9 investment pipeline” and that it had the “capacity up to $50B per transaction.”

10       197.    If INBE, represented by Messner, actually had that kind of capital or
11 liquidity, it could directly loan the money to All Net, another one of Messner’s clients,

12 which was in dire need of capital.

13       198.    As an entity in need of capital, All Net would certainly benefit from a
14 massive amount of capital to be repaid at an outlandishly low rate of six percent with

15 interest-only payments for ten years.

16       199.    Defendants and INBE would have no need to spend their time engaging
17 brokers to seek out unrelated small businesses across the country and pretending to be

18 serious about loaning those businesses millions of dollars on economically nonsensical

19 terms while proclaiming expert financial proficiency on a website.

20       200.    If the information on INBE’s website was accurate, including the so-
21 called $13.36 billion in the investment pipeline with the “capacity” for up to $50 billion

22 per transaction, INBE could have directly financed the $5 billion in capital needed to

23 construct the All Net arena and Defendants’ fraud would have been unnecessary.

24       201.    If INBE’s business practice indeed consisted of lending tens of millions
25 of dollars to small businesses without a personal guarantee or real estate collateral and

26 having those loans repaid via interest only at six percent over ten years, the business

27 would not survive. Moreover, strikingly, none of the transactions with Plaintiff or other

28 BELOC fraud victims are reflected on INBE’s website.

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 1       202.    INBE’s website as of March 24, 2023, reflected $13.36 billion in the
 2 pipeline. But by June 3, 2023, the pipeline had purportedly tripled to $35.72 billion.

 3

 4        March 23, 2023, INBE website           June 3, 2023, INBE website
 5

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20       203.    If lending money to small businesses at six percent interest only with
21 repayment after a decade without a personal guarantee or real estate collateral was

22 indeed INBE’s business model, then INBE’s business would not have grown so quickly

23 as INBE would have deployed all its capital, four times what it received in the form of

24 ICA payments, to borrowers with no personal guarantee.

25       204.    Moreover, the people purportedly associated with INBE have no
26 experience in lending. INBE’s two principals purportedly consist of C.B., a consultant,

27 and J.W., a person associated with a beer brewing company.

28

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 1       205.    Neither of these individuals has any apparent experience in lending
 2 millions or billions of dollars, and neither appears to have much, if any, wealth to lend

 3 to borrowers.

 4       206.    INBE stated under oath, in May 2024, that it has no capitalization table.
 5       207.    INBE stated under oath, in May 2024, that it has no documents reflecting
 6 any capital contributions to INBE or distributions from INBE.

 7       208.    INBE stated under oath, in May 2024, that it has no corporate resolutions,
 8 tax returns, balance sheets, income statements, records of debt owed to INBE, or

 9 records of debt owed by INBE.

10       209.    INBE stated under oath, in May 2024, that it has no contracts with
11 Clearwater or Titan and that INBE received no invoices from Messner, it paid no

12 money to Messner, it received no money from Messner, and it received no payment of

13 money in connection with actions taken by Messner.

14       210.    INBE asserted in May 2024 that it never received the ICA money, that it
15 never authorized Messner to transfer it, and that INBE does not know where the ICA

16 money would be other than with Messner.

17       211.    INBE stated under oath in May 2024 that, to the extent of its knowledge,
18 the ICA money is still with Messner, and INBE claimed that it has no documents

19 reflecting any reason why the victims’ ICA money has not been returned by Messner

20 and the other Defendants.

21       212.    INBE stated under oath in May 2024 that it neither received nor expected
22 to receive any other benefit(s), upside, or consideration in connection with obligating

23 itself to loan millions of dollars pursuant to the BELOC without a personal guarantee

24 or real estate collateral, on an interest only basis for 10 years at 6%.

25       213.    INBE stated under oath in May 2024 that it has no contractual agreement
26 with Messner other than what is stated in the BELOC, that it has no contractual

27 agreement with Clearwater, and that it does not know what happened with the ICA

28 money.

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 1     Predicate Act of Wire Fraud #1, Plaintiff, $2,000,000, Wired April 27, 2023
 2       214.      Pursuant to the fraudulent scheme devised by Defendants as discussed
 3 herein, on or about April 24, 2023, Defendants directed J.W. or INBE, on Defendants’

 4 behalf, as Defendants’ agent, and in furtherance of Defendants’ common scheme and

 5 plan, to make false representations to Plaintiff intended to defraud, deceive, and induce

 6 Plaintiff into paying $2 million into Messner’s Northern Trust escrow account.

 7       215.      When the BELOC was disseminated to Plaintiff, to N.L., on or about April
 8 24, 2023 by email by J.W. or INBE, it was a false statement by Messner and

 9 Defendants, as neither INBE nor any Defendant had any intention of issuing any loan

10 to Plaintiff.

11       216.      The purpose of the BELOC was to steal Plaintiff’s money by defrauding
12 Plaintiff into believing that it would receive a loan as long as Plaintiff sent Messner the

13 ICA deposit of $2 million.

14       217.      The BELOC is fundamentally a fraudulent document, based on an even
15 more dangerous draft of the fraudulent BELOC that Messner received from Prime.

16 Drafted by Messner, and dispatched by Messner, the BELOC contains numerous false

17 statements.

18       218.      In addition, specific statements in the BELOC are particularly false.
19       219.      The provision in the BELOC which states that INBE supposedly “has the
20 financial ability and wherewithal to fully fund” an $8 million loan to Plaintiff is a false

21 assertion by Defendants, through INBE, and it was known to be false when made by

22 Defendants, through INBE.

23       220.      The provision in the BELOC which states that INBE supposedly will
24 “fully and timely fund each Advance” is a false assertion by Defendants, through

25 INBE, and was known to be false when made by Defendants, through INBE.

26       221.      The provision in the BELOC which states that the BELOC “omit[s] no
27 material facts” is a false assertion by Defendants, through INBE, and was known to be

28 false when made by Defendants, through INBE. Among other things, the BELOC omits

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 1 the material fact that no loan would actually be made and that Messner and Defendants

 2 intended, all along, to take Plaintiff’s ICA money without the issuance of a loan.

 3       222.   The provision in the BELOC which states that Plaintiff’s $2 million ICA
 4 deposit will be “held by a nominated Trustee (attorney) [Messner]” is a false assertion

 5 by Defendants, through INBE, and was known to be false when made by Defendants,

 6 through INBE. Defendants did not intend for the nominated Trustee, Messner, to hold

 7 the ICA money.

 8       223.   The provision in the BELOC which states that Plaintiff’s $2 million ICA
 9 deposit “shall be in Trustee’s sole possession and control” is a false assertion by

10 Defendants, through INBE, and was known to be false when made by Defendants,

11 through INBE. Defendants did not intend for the ICA deposit to be in the Trustee’s sole

12 possession and control.

13       224.    The provision in the BELOC which states that INBE “will step in and
14 reimburse” Plaintiff if Plaintiff’s ICA money is not returned is a false assertion by

15 Defendants, through INBE, and was known to be false when made by Defendants,

16 through INBE, as INBE has no ability or wherewithal to “step in and reimburse”

17 Plaintiff’s ICA money.

18       225.    Having reasonably relied on the false statements, made on or about April
19 24, 2023 as reflected above, to its detriment, Plaintiff wired $2 million to Messner’s

20 Northern Trust COLTAF account on April 27, 2023.

21       226.    Despite demand for the return of the ICA money, Plaintiff’s $2 million
22 was never returned.

23       227.    The $8 million loan to Plaintiff referenced in the BELOC never occurred
24 as Plaintiff never received any loan funds whatsoever, and Plaintiff sustained

25 substantial incidental and consequential damages as a result.

26       228.    On April 28, 2023, J.W. confirmed that Plaintiff’s $2 million wire was
27 received, and J.W. falsely stated that he would send Plaintiff weekly communications

28 with updates even if there were no new updates.

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 1       229.     On May 2, 2023, when Plaintiff asked about the factors that determine the
 2 timeframe for tender of the first tranche of funding, J.W. provided a false explanation

 3 the next day, claiming that “the size of the loan and the risk play a apart [sic].” In fact,

 4 J.W. knew that the loan was never going to be issued, so the truthful answer would

 5 have been that the delay was inherent in the scheme to defraud because no loan would

 6 ever be made.

 7       230.     On May 9, 2023, Messner processed a client information sheet for
 8 Clearwater.

 9       231.     On May 19, 2023, and May 30, 2023, Plaintiff followed up with J.W.
10 regarding the status of the loan, and J.W. responded each time on Defendants’ behalf

11 by falsely stating to Plaintiff that “everything is still on track.”

12       232.     On June 2, 2023, Messner received an Axos Bank account welcome letter
13 for INBE-Clear Capital Group, LLC.

14       233.     On June 6, 2023, a satisfaction of the $1,147,000 judgment owed by the
15 All Net entities to judgment-creditors Construction Testing Services, LLC and Fenagh

16 Engineering and Testing, LLC (“CTS”) was recorded. Ex. F.

17       234.     The satisfaction, which benefits Defendants, was signed by CTS’s counsel
18 on June 5, 2023, the Monday following Messner’s Friday, June 2, 2023 receipt of the

19 Axos Bank account welcome letter for INBE-Clear Capital Group, LLC and after

20 receipt of Plaintiff’s $2 million ICA deposit to Messner.

21         Predicate Act of Wire Fraud #2, Emerald Consulting Partners, LLC
22                  on behalf of Hard AF, $700,000, Wired June 13, 2023
23       235.     Pursuant to the fraudulent scheme devised by Defendants as discussed
24 herein, on June 8, 2023, Defendants directed J.W. or INBE, on Defendants’ behalf, as

25 Defendants’ agent, and in furtherance of Defendants’ common scheme and plan, to

26 make false representations to Emerald Consulting Partners LLC (“Emerald”), as Hard

27 AF’s bridge lender who effectuated payment to Defendants, and Hard AF, intended to

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 1 defraud, deceive, and induce Emerald into paying $700,000 into Messner’s Northern

 2 Trust escrow account.

 3       236.    When the BELOC was disseminated to Emerald and Hard AF, to R.P.,
 4 J.F., and S.E., on or about June 8, 2023 by email by J.W. or INBE, it was a false

 5 statement by Messner and Defendants, as neither INBE nor any Defendant had any

 6 intention of issuing any loan to Emerald and Hard AF.

 7       237.    The purpose of the BELOC was to steal Emerald and Hard AF’s money
 8 by defrauding Emerald and Hard AF into believing that Hard AF would receive a loan

 9 as long as Emerald or Hard AF paid Messner the ICA deposit of $700,000.

10       238.    The BELOC is fundamentally a fraudulent document, based on an even
11 more dangerous draft of the fraudulent BELOC that Messner received from Prime.

12 Drafted by Messner, and dispatched by Messner, the BELOC contains numerous false

13 statements.

14       239.    In addition, specific statements in the BELOC are particularly false.
15       240.    The provision in the BELOC which states that INBE supposedly “has the
16 financial ability and wherewithal to fully fund” an $2.8 million loan to Emerald is a

17 false assertion by Defendants, through INBE, was known to be false when made by

18 Defendants, through INBE.

19       241.    The provision in the BELOC which states that INBE supposedly will
20 “fully and timely fund each Advance” is a false assertion by Defendants, through

21 INBE, and was known to be false when made by Defendants, through INBE.

22       242.    The provision in the BELOC which states that the BELOC “omit[s] no
23 material facts” is a false assertion by Defendants, through INBE, and was known to be

24 false when made by Defendants, through INBE. Among other things, the BELOC omits

25 the material fact that no loan would actually be made and that Messner and Defendants

26 intended, all along, to take Emerald and Hard AF’s ICA money without the issuance

27 of a loan.

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 1       243.    The provision in the BELOC which states that Emerald’s $700,000 ICA
 2 deposit will be “held by a nominated Trustee (attorney) [Messner]” is a false assertion

 3 by Defendants, through INBE, and was known to be false when made by Defendants,

 4 through INBE. Defendants did not intend for the nominated Trustee, Messner, to hold

 5 the ICA money.

 6       244.    The provision in the BELOC which states that Emerald and Hard AF’s
 7 $700,000 ICA deposit “shall be in Trustee’s sole possession and control” is a false

 8 assertion by Defendants, through INBE, and was known to be false when made by

 9 Defendants, through INBE. Defendants did not intend for the ICA deposit to be in

10 Trustee’s sole possession and control.

11       245.    The provision in the BELOC which states that INBE “will step in and
12 reimburse” Emerald and Hard AF if their ICA money is not returned is a false assertion

13 by Defendants, through INBE, and was known to be false when made by Defendants,

14 through INBE, as INBE has no ability or wherewithal to “step in and reimburse”

15 Emerald and Hard AF’s ICA money.

16       246.    Having reasonably relied on the false statements to its detriment, made on
17 or about June 8, 2023 as reflected above, Emerald wired $700,000 to Messner’s

18 Northern Trust COLTAF account on June 13, 2023.

19       247.    Despite demand for the return of the ICA money, Emerald’s $700,000 was
20 never returned.

21       248.    The $2.8 million loan to Hard AF, including the payment directly to
22 Emerald, referenced in the BELOC and the accompanying documents never occurred

23 as Hard AF never received any loan funds whatsoever and Emerald and Hard AF

24 sustained substantial incidental and consequential damages as a result.

25       249.    On June 14, 2023, after Messner received Emerald’s $700,000 wire,
26 which corresponds to a purported obligation to loan an additional $2.8 million,

27 Defendants directed INBE to represent on Defendants’ behalf that “everything is still

28 on track” for issuance of the loan.

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 1   Predicate Act of Wire Fraud #3, MSC Companies, LLC, Wired June 19, 2023
 2       250.    Pursuant to the fraudulent scheme devised by Defendants as discussed
 3 herein, on or about June 19, 2023, Defendants directed J.W., on Defendants’ behalf, as

 4 Defendants’ agent, and in furtherance of Defendants’ common scheme and plan, to

 5 make false representations to MSC Companies, LLC (“MSC”) intended to defraud,

 6 deceive, and induce MSC into paying $1,145,000 into Messner’s Northern Trust

 7 escrow account.

 8       251.    When the BELOC was disseminated to MSC, to N.C., on or about June
 9 19, 2023 by email by J.W. or INBE, it was a false statement by Messner and

10 Defendants, as neither INBE nor any Defendant intended to issue any loan to MSC.

11       252.    The purpose of the BELOC was to steal MSC’s money by defrauding
12 MSC into believing that it would receive a loan as long as MSC paid Messner the ICA

13 deposit of $1,145,000.

14       253.    The BELOC is fundamentally a fraudulent document, based on an even
15 more dangerous draft of the fraudulent BELOC that Messner received from Prime.

16 Drafted by Messner, and dispatched by Messner, the BELOC contains numerous false

17 statements.

18       254.    In addition, specific statements in the BELOC are particularly false.
19       255.    The provision in the BELOC which states that INBE supposedly “has the
20 financial ability and wherewithal to fully fund” an $4,580,000 loan to MSC is a false

21 assertion by Defendants, through INBE, and was known to be false when made by

22 Defendants, through INBE.

23       256.    The provision in the BELOC which states that INBE supposedly will
24 “fully and timely fund each Advance” is a false assertion by Defendants, through

25 INBE, and was known to be false when made by Defendants, through INBE.

26       257.    The provision in the BELOC which states that the BELOC “omit[s] no
27 material facts” is a false assertion by Defendants, through INBE, and as known to be

28 false when made by Defendants, through INBE. Among other things, the BELOC omits

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 1 the material fact that no loan would actually be made and that Messner and Defendants

 2 intended, all along, to take MSC’s ICA money without the issuance of a loan.

 3       258.   The provision in the BELOC which states that MSC’s $1,145,000 ICA
 4 deposit will be “held by a nominated Trustee (attorney) [Messner]” is a false assertion

 5 by Defendants, through INBE, and was known to be false when made by Defendants,

 6 through INBE. Defendants did not intend for the nominated Trustee, Messner, to hold

 7 the ICA money.

 8       259.   The provision in the BELOC which states that MSC’s $1,145,000 ICA
 9 deposit “shall be in Trustee’s sole possession and control” is a false assertion by

10 Defendants, through INBE, and was known to be false when made by Defendants,

11 through INBE. Defendants did not intend for the ICA deposit to be in the Trustee’s sole

12 possession and control.

13       260.   The provision in the BELOC which states that INBE “will step in and
14 reimburse” MSC if MSC’s ICA money is not returned is a false assertion by

15 Defendants, through INBE, and was known to be false when made by Defendants,

16 through INBE, as INBE has no ability or wherewithal to “step in and reimburse”

17 MSC’s ICA money.

18       261.   Having reasonably relied on the false statements to its detriment, made on
19 or about June 19, 2023 as reflected above, MSC wired $1,145,000 to Messner’s

20 Northern Trust COLTAF account on June 23, 2023.

21       262.   Despite demand for the return of the ICA money, MSC’s $1,145,000 was
22 never returned.

23       263.   The $4,580,000 loan to MSC referenced in the BELOC never occurred as
24 MSC never received any loan funds whatsoever, and MSC sustained substantial

25 incidental and consequential damages as a result.

26       264.   On June 23, 2023, Messner further drafted the Operating Agreement, or
27 the amended operating agreement, of INBE-Clear Capital Group, LLC.

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 1         Predicate Act of Wire Fraud #4, Abbson LLC, Wired June 29, 2023
 2       265.    Pursuant to the fraudulent scheme devised by Defendants as discussed
 3 herein, on or about June 29, 2023, Defendants directed J.W. or INBE, on Defendants’

 4 behalf, as Defendants’ agent, and in furtherance of Defendants’ common scheme and

 5 plan, to make false representations to Abbson LLC (“Abbson”) intended to defraud,

 6 deceive, and induce Abbson into paying $3,500,000 into Messner’s Northern Trust

 7 escrow account.

 8       266.    When the BELOC was disseminated to Abbson, to C.A. and I.B, on or
 9 about June 29, 2023 by email by J.W. or INBE, it was a false statement by Messner

10 and Defendants, as neither INBE nor any Defendant intended to issue any loan to

11 Abbson.

12       267.    The purpose of the BELOC was to steal Abbson’s money by defrauding
13 Abbson into believing that it would receive a loan as long as Abbson paid Messner the

14 ICA deposit of $3.5 million.

15       268.    The BELOC is fundamentally a fraudulent document, based on an even
16 more dangerous draft of the fraudulent BELOC that Messner received from Prime.

17 Drafted by Messner, and dispatched by Messner, the BELOC contains numerous false

18 statements.

19       269.    In addition, specific statements in the BELOC are particularly false.
20       270.    The provision in the BELOC that INBE supposedly “has the financial
21 ability and wherewithal to fully fund” a $14 million loan to Abbson a is false assertion

22 by Defendants, through INBE, and was known to be false when made by Defendants,

23 through INBE.

24       271.    The provision in the BELOC which states that INBE supposedly will
25 “fully and timely fund each Advance” is a false assertion by Defendants, through

26 INBE, and was known to be false when made by Defendants, through INBE.

27       272.    The provision in the BELOC which states that the BELOC “omit[s] no
28 material facts” is a false assertion by Defendants, through INBE, and was known to be

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 1 false when made by Defendants, through INBE. Among other things, the BELOC omits

 2 the material fact that no loan would actually be made and that Messner and Defendants

 3 intended, all along, to take Abbson’s ICA money without the issuance of a loan.

 4       273.   The provision in the BELOC which states that Abbson’s $3.5 million ICA
 5 deposit will be “held by a nominated Trustee (attorney) [Messner]” is a false assertion

 6 by Defendants, through INBE, and was known to be false when made by Defendants,

 7 through INBE. Defendants did not intend for the nominated Trustee, Messner, to hold

 8 the ICA money.

 9       274.   The provision in the BELOC which states that Abbson’s $3.5 million ICA
10 deposit “shall be in Trustee’s sole possession and control” is a false assertion by

11 Defendants, through INBE, and was known to be false when made by Defendants,

12 through INBE. Defendants did not intend for the ICA deposit to be in the Trustee’s sole

13 possession and control.

14       275.   The provision in the BELOC which states that INBE “will step in and
15 reimburse” Abbson if Abbson’s ICA money is not returned is a false assertion by

16 Defendants, through INBE, and was known to be false when made by Defendants,

17 through INBE, as INBE has no ability or wherewithal to “step in and reimburse”

18 Abbson’s ICA money.

19       276.   Having reasonably relied on the false statements to its detriment, made on
20 or about June 29, 2023 as reflected above, Abbson wired $3,500,000 to Messner’s

21 Northern Trust COLTAF account on June 29, 2023.

22       277.   Despite demand for the return of the ICA money, Abbson’s $3.5 million
23 was never returned.

24       278.   The $14 million loan to Abbson referenced in the BELOC never occurred
25 as Abbson never received any loan funds whatsoever, and Abbson sustained substantial

26 incidental and consequential damages as a result.

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 1       279.    On June 29, 2023, Welch sent an email to “Leon Chartue,” which is the
 2 alias for Chartraw, and Messner refused to produce the communication between Welch

 3 and Chartraw in other litigation as purportedly privileged.

 4       280.    On July 1, 2023, and for the next 19 days, Defendants directed J.W. to
 5 make repeated false representations to Plaintiff that “everything is still on track” for

 6 Plaintiff’s July 27, 2023, funding date, even though INBE had no intent or wherewithal

 7 to make the loan to Plaintiff.

 8       281.    On July 5, 2023, Welch sent an email to “Leon Chartue,” the alias for
 9 Chartraw, and Owen, who is Clearwater’s principal regarding INBE. Messner refused

10 to produce the communication between Welch, Chartraw, and Owen in other litigation

11 as purportedly privileged.

12       282.    On July 20, 2023, Defendants directed J.W. to falsely represent to Plaintiff
13 as follows by email “I hope to have your funding by COB tomorrow.”

14       283.    INBE and Defendants became temporarily unresponsive as the July 27,
15 2023, funding deadline elapsed.

16       284.    On July 28, 2023, J.W. represented to Plaintiff’s advisor by telephone that
17 the delay in funding was due to Messner as the purported “paymaster.”

18       285.    On July 28, 2023, Defendants directed J.W. to falsely represent to Plaintiff
19 as follows by email, “[w]e are working to get funds out. Will update you as I know

20 more.”

21       286.    On July 31, 2023, Defendants directed C.B to falsely represent to Plaintiff
22 as follows by email, “As I believe Jonathan explained on the call on Friday we have

23 had a short delay in the movement and subsequent release of funds. My self and our

24 senior management team are working on resolving the issue and anticipate having

25 everything in place towards the end of this week possibly next week.”

26        Predicate Act of Wire Fraud #5, Konala LLC, Wired August 1, 2023
27       287.    Pursuant to the fraudulent scheme devised by Defendants as discussed
28 herein, on or about August 1, 2023, Defendants directed J.W. or INBE, on Defendants’

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 1 behalf, as Defendants’ agent, and in furtherance of Defendants’ common scheme and

 2 plan, to make false representations to Konala LLC (“Konala”) intended to defraud,

 3 deceive, and induce Konala into paying $325,000 into Messner’s Northern Trust

 4 escrow account.

 5       288.    When the BELOC was disseminated to Konala, to T.M., on or about
 6 August 1, 2023 by email by J.W. or INBE it was a false statement by Messner and

 7 Defendants, as neither INBE nor any Defendant intended to issue any loan to Konala.

 8       289.    The purpose of the BELOC was to steal Konala’s money by defrauding
 9 Konala into believing that it would receive a loan as long as Konala paid Messner the

10 ICA deposit of $325,000.

11       290.    The BELOC is fundamentally a fraudulent document, based on an even
12 more dangerous draft of the fraudulent BELOC that Messner received from Prime.

13 Drafted by Messner, and dispatched by Messner, the BELOC contains numerous false

14 statements.

15       291.    In addition, specific statements in the BELOC are particularly false.
16       292.    The provision in the BELOC which states that INBE supposedly “has the
17 financial ability and wherewithal to fully fund” a $1.3 million loan to Konala is a false

18 assertion by Defendants, through INBE, and was known to be false when made by

19 Defendants, through INBE.

20       293.    The provision in the BELOC which states that INBE supposedly will
21 “fully and timely fund each Advance” is a false assertion by Defendants, through

22 INBE, and was known to be false when made by Defendants, through INBE.

23       294.    The provision in the BELOC which states that the BELOC “omit[s] no
24 material facts” is a false assertion by Defendants, through INBE, and was known to be

25 false when made by Defendants, through INBE. Among other things, the BELOC omits

26 the material fact that no loan would actually be made and that Messner and Defendants

27 intended, all along, to take Konala’s ICA money without the issuance of a loan.

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 1       295.   The provision in the BELOC which states that Konala’s $325,000 ICA
 2 deposit will be “held by a nominated Trustee (attorney) [Messner]” is a false assertion

 3 by Defendants, through INBE, and was known to be false when made by Defendants,

 4 through INBE. Defendants did not intend for the nominated Trustee, Messner, to hold

 5 the ICA money.

 6       296.   The provision in the BELOC which states that Konala’s $325,000 ICA
 7 deposit “shall be in Trustee’s sole possession and control” is a false assertion by

 8 Defendants, through INBE, and was known to be false when made by Defendants,

 9 through INBE. Defendants did not intend for the ICA deposit to be in Trustee’s sole

10 possession and control.

11       297.   The provision in the BELOC which states that INBE “will step in and
12 reimburse” Konala if Konala’s ICA money is not returned is a false assertion by

13 Defendants, through INBE, and was known to be false when made by Defendants,

14 through INBE, as INBE has no ability or wherewithal to “step in and reimburse”

15 Konala’s ICA money.

16       298.   Having reasonably relied on the false statements to its detriment, made on
17 or about August 1, 2023 as reflected above, Konala wired $325,000 to Messner’s

18 Northern Trust COLTAF account on August 1, 2023.

19       299.   Despite demand for the return of the ICA money, Konala’s $325,000 was
20 never returned.

21       300.   The $1.3 million loan to Konala referenced in the BELOC never occurred
22 as Konala never received any loan funds whatsoever, and Konala sustained substantial

23 incidental and consequential damages as a result.

24       301.   In August 2023, Plaintiff repeatedly followed up with J.W., and J.W.
25 engaged in a game of “run around.”

26       302.   On August 7, 2023, Defendants directed J.W. to falsely represent to
27 Plaintiff as follows by email, “[g]ood afternoon its looking good. Should have a better

28 timeframe by tomorrow.”

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 1       303.   On August 16, 2023, Defendants directed J.W. to falsely represent to
 2 Plaintiff as follows by email, “Hey Noah working on it.”

 3       304.   On August 17, 2023, Welch responded to an inquiry from Plaintiff’s
 4 advisor by stating as follows by email:

 5        Matt – thanks for chatting yesterday. Some clarification here as it does
 6
          deviate from our discussion a bit:
          1. I will keep you informed as to status on the funds as the clear into the
 7        US accounts. As I mentioned, this is and has been the hiccup here given
 8        the size and process. I anticipate to have more information today from the
          relative banks (there are three working on this side) – when I spoke to the
 9        banks        yesterday        they       had       hoped      that        the
10        funds would be in clearance process today or tomorrow – as I explained
          to you, if that occurs, then funds would be deployable be the end of next
11        week. I have another discussion with all of the bankers this afternoon for
12        a status update.
          2. This is correct.
13        3. I am discussion with INBE on the accelerated tranche schedule. As I
14        mentioned, there was discussion as to a new tranche schedule to push
          up 2 and 3 in advance of the prior schedule – while the funds may be
15        available, the schedule itself will be with Craig and Jonathan. I’ll confirm
16        and revert.

17       305.   On August 17, 2023, Welch further stated to Plaintiff’s advisor by email:
18        Bankers are waiting for additional approvals. We submitted another set
19        of AML documents today. All remains routine but i anticipate
20        additional news tomorrow.
21       306.   Upon information and belief, no legitimate and non-fraudulent “bankers”
22 existed who were “waiting for additional approvals,” and the scenario with the BELOC

23 loan was not “routine.”

24       307.   On August 18, 2023, Welch falsely stated to Plaintiff’s advisor by email:
25        Discussed with the bankers facilitating the move today - they have
          indicated that the initial messages have been sent for the final transfers
26
          and they will respond to each other Monday - then movement will happen.
27        On pace for end of next week per their status update today.
28       308.   On August 22, 2023, Welch falsely stated to Plaintiff’s advisor by email:
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 1        Matt - we remain on track as discussed Thursday and Friday. This is
 2
          subject just to banking procedures and time frames but the estimate
          given last week and relayed to you (funds available the end of this we
 3        have completed everything on our side.
 4        As for tranching the disbursements, once the first tranche is release (and
          assuming your client wishes to accept the tranche rather than a refund
 5        of the ICA deposit), my clients will make the second tranche after the
 6        2nd.
          Torben Welch
 7

 8       309.      On August 23, 2023, Welch signed a letter known as an “attorney comfort
 9 letter,” in which Welch stated as follows:

10        Letter      from     Messner     Reeves,     signed     by    T.     Welch.
11
          Re: INBE CAPITAL, LLC and its affiliates (“INBE”)
12        To Whom It May Concern:
          We serve as outside counsel to INBE Capital, LLC and its affiliates and
13
          partners (“INBE”).
14

15
          It is our understanding that you are exploring a potential business
          relationship with INBE for the receipt of a business expansion line of
16        credit (a “BELOC”) from INBE. The purpose of this communication is to
17
          confirm that INBE stands ready, willing and able to proceed with the
          financing subject to the terms and conditions of its standard agreements
18        governing such BELOC.
19
          We look forward to proceeding with this transaction and working with
          you and your company moving forward.
20

21        Should you have any questions or concerns, please contact me directly to
          discuss.
22

23       310.      On August 23, 2023, Welch stated to Plaintiff’s advisor by email that he
24 was “awaiting confirmation from the banks” and “[o]nce funds hit they should be

25 available same day if received before 2 EDT.” Welch had no reasonable belief that

26 “funds” were coming, he claimed that he was “simply passing along” what he deemed

27 “estimates only subject to bank procedures and protocols.”

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 1       311.   On August 24, 2023, Welch stated to Plaintiff’s advisor by email that
 2 “[t]he bankers are still working through transfer protocols and clearance of the funds.

 3 I remain hopeful funds are cleared and deposited tomorrow.”

 4       312.   On August 25, 2023, Welch falsely stated to Plaintiff’s advisor by email
 5 that “the funds are still in process into the INBE account for disbursement. It did not

 6 happen today. The financial parties are coordinating on Monday to see if we can get a

 7 clear pathway. Torben.”

 8       313.   On August 28, 2023, Welch stated to Plaintiff’s advisor by email that “we
 9 will continue to finalize receipt of disbursement funds and will notify [sic] when they

10 are received.”

11       314.   On August 28, 2023, Welch further stated to Plaintiff’s advisor by email,
12 “[t]he bankers will not be on the call. As I mentioned to you the funds have been moved

13 to aggregate into a larger amount for memorization [sic]. We remain in control of those

14 funds (which are being moved).”

15       315.   On August 30, 2023, responding to an inquiry from Plaintiff’s advisor
16 about the purpose of the August 23, 2023, attorney comfort letter, Welch responded as

17 follows by email:

18        That is a generic form letter sample we prepared some time ago that I
19
          usually mark-up and send myself due our DD phase of review of
          potential partners. I don’t know why it was sent.
20        Your comment that it “isn’t accurate” needs to be tempered a lot.
21        Nonsense like that does a disservice here.

22       316.   As of September 7, 2023, Defendants authorized their agent M.H. to
23 repeatedly make false and delay-oriented statements on Defendants’ behalf to Plaintiff

24 and other victims about the purportedly imminent nature of the forthcoming loan funds.

25       317.   The explanation for the “delay” shifted.
26       318.   On September 7, 2023, M.H. stated:
27        Noah. Again. The assertion that "whatever party is supposed to fund
          my $8 Million had money a month ago and paid other obligations” IS
28
          NOT TRUE OR ACCURATE. The money for your loan will be
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 1        proceeds from an investment trade. This trade did NOT happen as
 2
          quickly as expected. Torben [Defendant Welch] & Danny [Defendant
          Chartraw] are aware of this issue and are working diligently to remedy
 3        this. But this remedy will take a little more time. And you have made it
 4        clear that you do not have time.

 5        So, in an effort, to meet your current, dire needs I have sourced a
 6        “bridge funding” option for you. Also, as I expressed to you earlier this
          morning, once the funding process is complete any additional cost(s)
 7        associated with the bridge loan will be borne by the entity that funds
 8        your loan.

 9        If you would like to speak about any particulars of this matter, please
10        feel free to contact me. As for the final funding date, I will speak with
          Torben and Danny and get back to you as soon as possible. Thank you.
11

12       319.   In September 2023, on a near daily basis, M.H. provided Plaintiff with
13 “updates” which consisted of references to “Danny” (Defendant Chartraw) as the

14 person with knowledge of the loan funds. None of the victims authorized Chartraw to

15 hold their ICA deposit funds.

16       320.   On September 8, 2023, while Defendants were stalling, obfuscating, and
17 and giving the run-around to Plaintiff and other BELOC scam victims, Defendants

18 simultaneously authorized the following announcement regarding financing of the All

19 Net arena: “the project is ‘utilizing a BELOC line of credit for $5,000,000,000.00 and

20 retiring that with the $5,000,000,000.00 equity investment of Clearwater Premier

21 Perpetual Master Trust, LLC.’”

22       321.   On September 21, 2023, Welch sent an email to C.B. at INBE and “Leon
23 Chartue,” the alias for Defendant Chartraw, regarding the ICA money of Emerald and

24 Hard AF. Messner refused to produce the email on grounds of a privilege invocation.

25       322.   On September 22, 2023, Welch received an email from C.B. at INBE
26 regarding the ICA money of Emerald and Hard AF. Messner refused to produce the

27 email on grounds of a privilege invocation.

28

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 1       323.   For the week of September 28, 2023, M.H. stated as follows as such
 2 communications are characteristic of M.H.’s repeated references to Chartraw:

 3
          I will call you back as soon as possible.
 4        I’m waiting for Danny to arrive and update me. I’m on back to back
 5        zoom calls this morning. I will be back to you with an update shortly.

 6        Danny is in route back to me
 7        He told me he will update when he gets here but expects to have things
          wrapped up shortly. I will ask him what shortly means and circle back to
 8        you.
 9        Talking to Danny. Give me a few minutes
          He just arrived
10        Not tomorrow
11        Thursday is possible
          Waiting for west coast end of day update
12        I’m still trying to connect with Danny
13        We keep missing each other
          My first day back in 3 weeks has been chaotic
14

15       324.   On October 5, 2023, Defendants directed M.H. to dissuade Plaintiff from
16 communicating with Welch, as M.H. stated via text to Plaintiff:

17        No. Do not call torben
          I will speak to Danny shortly and come back to you
18

19       325.   In the ensuing weeks in October 2023, M.H. continued to reference
20 essentially games of phone tag with “Danny” Chartraw:

21        Morning
          Talked to Danny last night briefly. Hopeful about today. Speaking to
22
          Danny again shortly and will call you after
23
          I will call you back as soon as possible.
24
          Playing phone tag with Danny. Best with me please
25        Danny was checking. Said he’d back to me as soon as he heard back
          from his people. Office is closed today
26

27        Not sure
          Spoke to Danny for like 15 seconds then call cut off and now not even
28
          texts are going thru
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 1        So I’m waiting
 2       326.   As directed by Defendants, on October 11, 2023, M.H. then began a cruel
 3 series of false representations to Plaintiff via text message that the funds would be

 4 imminently arriving:

 5        Noah
 6        I told you
          Expecting money literally at any time
 7        It’s 11am in CA
 8        I will have an update soon

 9        And will contact you when it’s recevied
10        Noah. It’s just not done for compliance purposes
          Stay calm another day or 2
11

12        We are literally wrapping things up
          Well based on the information I’ve been given we are just about to the
13        finish line
14        Like literally any time
          Potentially
15

16        Yes. I’ve messaged Danny to please call me as soon as he gets my
          messages
17

18        I’m on a zoom call
          Haven’t connected with Danny yet
19        Will try him after this call and come back to you
20
          I’ve reached out to Danny and am awaiting a response
21        He will contact me soon
22
          Noah
23        Unbeknownst to me meetings started at 7am with a group of people
24        Trying to get Danny aside to speak to him
          Got part of info then people came
25        Bear with me a little longer.
26       327.   On October 27, 2023, Welch sent an email to “Leon Chartue,” the alias
27 for Defendant Chartraw, regarding the ICA money of Emerald and Hard AF. Messner

28 refused to produce the email on grounds of a privilege invocation.

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 1         328.   By October 30, 2023, Defendants were well aware that the INBE
 2 purported loans were not going to be made, as the initial tranche funding deadlines

 3 were already missed for five of the currently known victims of the ICA scam.

 4         329.   On October 30, 2023, Emerald’s principal emailed Welch, stating as
 5 follows: “We are done chasing for answers and seeking clarity on what happened to

 6 our funds. Your immediate attention to this matter is requested. We are seeking clear

 7 and accurate communication as to the whereabouts of our interest reserve funds.”

 8         330.   On November 3, 2023, Welch sent a letter to Plaintiff, along with similar
 9 letters to the other victims of the BELOC scam. In this letter, Welch referred to

10 communications through M.H., and Welch asserted that Plaintiff was “mistaking

11 truthful communications” that “do not contain the content that [Plaintiff] wishes” to be

12 “incorrect or inaccurate.”

13         331.   In his November 3, 2023, letter, Welch did not acknowledge his own
14 direct communications, such as his representations on August 17, 2023, about

15 “bankers” and “routine approvals” or the incorrect and inaccurate statements that

16 Welch made in his August 23, 2023, attorney comfort letter, as Welch falsely stated at

17 that time, “INBE stands ready, willing and able to proceed with the financing subject

18 to the terms and conditions of its standard agreements governing such BELOC.” Welsh

19 never corrected his false statements.

20         332.   In the November 3, 2023, letter, Welch made a patently false assertion
21 that “INBE is entitled to utilize the [ICA] funds prior to delivery of any amount” of the

22 loan.

23         333.   Welch’s reading directly contradicts the unambiguous language in the
24 BELOC, which provides that the ICA deposit will be “held by a nominated Trustee

25 (attorney) [Messner]” and the ICA deposit “shall be in Trustee [Messner]’s sole

26 possession and control.” The BELOC does not whatsoever permit INBE to “utilize”

27 the ICA funds, as the ICA funds must stay in Messner’s sole possession and control.

28         334.   Moreover, INBE attested that it neither received nor used the ICA money.
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 1       335.    Welch then stated in the letter, without evidence, that “[t]he funds are
 2 under the possession and control of the Firm [Messner] awaiting deployment,” but

 3 Welch conflictingly then stated that Plaintiff’s claim “that the funds were never going

 4 to be moved or transferred is simply an intentional misreading of the Agreement.”

 5       336.    Welch referred to his frustration and threatened that the “continued
 6 misreading of the Agreement” can “only lead to protracted litigation on the issue.”

 7       337.    Welch did not actually provide clarity on the usage, status, or condition of
 8 the ICA deposit money, which is escrow money and property of the victims, and not

 9 property of any of the Defendants, including and especially Messner. From his perch

10 as one of Messner’s managing partners, Welch declared that inquiries about the missing

11 ICA money may result in “protracted litigation,” was Welch essentially threatened to

12 further financially punish those who might inquire about their missing escrow funds.

13       338.    Welch threatened direct legal action against those who sought the truth
14 about the missing money, stating, “misrepresentations and allegations of wrongdoing”

15 will “not be tolerated” and “nonsensical arguments” will be addressed promptly and

16 directly through “all applicable defenses, counterclaims, and related actions.”

17       339.    On November 21, 2023, Welch appeared before the Commission, which
18 is a tribunal, and made a series of false statements on behalf of All Net as stated below.

19       340.    Welch proclaimed that “the partners” were able to “secure financing for
20 this project through assets that they had.” But financing had never been secured, and

21 the only assets to which Welch could have been referring were the rights to a portion

22 of the proceeds from the failed “monetization” of the worthless Ameri-Metro bonds.

23       341.    Welch then falsely represented to the Commission that Clearwater
24 “secured financing on behalf of All Net and have provided $5 billion in an account, an

25 offshore account for the purposes of building this project.”

26       342.    Welch asserted that the so-called account is not U.S. based because,
27 supposedly, “U.S. based accounts don’t act as escrow agents and hold that kind of

28 money.”

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 1       343.    Welch falsely claimed that “the accounts have been opened and HSBC
 2 UK is where that money [$5 billion] will be stored.”

 3       344.    Welch falsely stated that “there are additional construction loans and lines
 4 of credit” and that all the outstanding construction invoices “are in the process of being

 5 paid.”

 6       345.    Welch stated “[e]verybody working on the site today has been prepaid for
 7 their work, so to speak.”

 8       346.    Welch then put up on the screen what he claimed was a bank statement of
 9 Fides Bank in Mexico, as Welch represented that the document was a “bank statement

10 evidencing the account number [redacted] that is in the name of Dribble Dunk [All

11 Net].” Welch stated that the account contains $5 billion and it was “funded by their

12 partner, Clearwater, on 8/25, and as we sit here today, it remains at that amount, $5

13 billion.”

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22       347.    After hearing Welch’s presentation on November 21, 2023, as well as the
23 presentation of a person on All Net’s behalf who claimed to have verified that the

24 phantom $5 billion in the Mexican bank account was purportedly “clean” and

25 unconnected to “cartels,” and another All Net compatriot who was sued six days later

26 for running his own ICA fraud scheme [North Haven v. McMann Commercial, et al,

27 1:23-cv-16264, ILND], the Commission voted 7-0 to terminate the All Net project.

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 1       348.    On November 22, 2023, Welch emailed J.W. and C.B. at INBE regarding
 2 a letter from Emerald’s undersigned counsel. Messner refused to produce the email on

 3 grounds of a privilege invocation.

 4       349.    On November 27, 2023, Welch emailed an attorney representing M.H.
 5 regarding the letter from Emerald’s undersigned counsel. Messner refused to produce

 6 the email on grounds of a privilege invocation.

 7       350.    On December 1, 2023, Welch sent a reply letter to Emerald’s counsel in
 8 which Welch reversed course on the lending entity for which Messner had recently

 9 vouched, as Welch stated, “we do not represent INBE related to these matters at this

10 time.” Welch falsely asserted that Messner “served only as the Paymaster and recipient

11 of the ICA Payment under the Agreement.”

12       351.    Welch failed to account for the ICA deposit money, which belongs to
13 Plaintiff and the other victims, as Welch and Messner would not commit to returning

14 the missing deposit money.

15       352.    On January 25, 2024, Welch sent another email to Emerald’s undersigned
16 counsel, this time stating that “the funds remain part of the escrow under our control at

17 Titan Financial, LLC – a copy of that statement evidencing the same is attached hereto

18 as of today’s date (please note that your clients $700k is co-mingled with other funds).”

19       353.    Titan had been created on November 7, 2023, as a Wyoming LLC under
20 the organizer’s name Todd Owen, reflecting the same 30 North Gould Street, Sheridan,

21 WY 82801 address. But the filer’s signature reflects Donna DeFalco and

22 ddefalco@messner.com, which is the same filing credentials for INBE-Clear Capital

23 Group, LLC with Welch as the principal.

24       354.    The purported Titan document attached to Welch’s January 25, 2024
25 email, which contains scrubbed metadata, appears to be yet another forged or

26 fraudulent bank or financial document presented by Welch, even after Welch peddled

27 in the phony PG Asia and Fides Bank documents. The “account” number and account

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 1 type reflect a purported “IOLTA” account, but Titan is not even a bank, and only banks

 2 can administer IOLTA accounts.

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17       355.    The purported $10.3 million the so-called Titan account is as fraudulent
18 as the $5 billion in the PG Asia account and the $5 billion in the Fides Bank account.

19       356.    Moreover, if Welch had been truthful about the purported $10.3 million
20 in a Titan account, or any account, such a balance would reflect sufficient funds for the

21 return of the victims’ ICA money. And yet more than four more months have passed

22 and Messner inexplicably persists in its failure to return any of the missing ICA deposit

23 funds.

24       357.    Defendants Welch and Messner’s pattern of involvement with fraudulent
25 documents, disreputable parties, and non-existent financing schemes indicates, at best,

26 a colossal and recklessly negligent failure to perform the most basic due diligence.

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 1       358.    Acting in his capacity as an officer of the court and with investigative
 2 responsibilities, this is unlikely as Defendant Welch knew or should have known that

 3 Clearwater and its principals were not legitimate actors.

 4       359.    On June 5, 2023, Messner was in possession of Plaintiff’s $2 million wire
 5 received on April 27, 2023. June 5, 2023 is one business day after June 2, 2023 when

 6 Welch an Axos Bank account welcome letter for INBE-Clear Capital Group, LLC. On

 7 June 5, 2023, creditor CTS executed a satisfaction of a $1,147,000 judgment against

 8 All Net which had been entered on October 19, 2021, and recorded on February 15,

 9 2023. The insolvent All Net entity in the summer of 2023 would not have been able to

10 satisfy this judgment without additional capital.

11       360.    Through the end of 2022, All Net owed rent of approximately $1.3
12 million. Through November 2023, the rent amount in arrears likely increased by at least

13 $1.1 million, rendering the amount likely in excess of $2.4 million in past due rent by

14 November 2023.

15       361.    On November 2, 2023, the owner of the property for the All Net site
16 recorded a termination of the lease.

17       362.    But on November 21, 2023, at the Zoning Commission Hearing, the owner
18 did not mention any rent owed by All Net as he effusively stated, “we've been a hundred

19 percent in support of the All Net Arena project from day one, and we remain in a

20 hundred percent support today.”

21       363.    At the November 21, 2023 Zoning Commission Hearing, Welch
22 represented that labor was “prepaid,” but he failed to explain how the insolvent

23 judgment-debtor All Net was able to “prepay” for labor which had not even occurred.

24       364.    As of today’s date, Clearwater’s website is deleted, Chartraw operates
25 under an alias of Leon “Danny” Chartue, INBE does not list any of the ICA scam

26 victims among its client list on its website, and Welch and Messner still have not

27 accounted for the disappearance of the ICA deposit money.

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 1       365.     Plaintiff sustained damages which were devastating to its business,
 2 including incidental and consequential damages, including the cost of additional capital

 3 on short notice, and lost business.

 4                                       COUNT ONE
 5                      RACKETEER INFLUENCED & CORRUPT
 6                    ORGANIZATION ACT – 18 U.S. CODE § 1962
 7                   (Against Messner, Clearwater, Welch, and Chartraw)
 8         366. Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 9 as if fully set forth herein.

10         367. Pursuant to 18 U.S.C. § 1962(c), it is unlawful for any person employed
11 by or associated with any enterprise engaged in, or the activities of which affect,

12 interstate or foreign commerce, to conduct or participate, directly or indirectly, in the

13 conduct of such enterprise’s affairs through a pattern of racketeering activity.

14         368. A RICO claim must plausibly allege that the Defendants (1) operated or
15 managed (2) an enterprise (3) through a pattern (4) of racketeering activity that

16 included at least two predicate acts of racketeering, which (5) caused (6) injury to the

17 business or property of the plaintiff.

18         369. To show a pattern, a plaintiff must demonstrate that Defendants
19 committed at least two predicate acts within a ten-year span, that the predicate acts

20 were related, and that the predicate acts demonstrate criminal conduct of a continuing

21 nature. Continuity can be established as either a closed period of repeated conduct, or

22 open-ended continuity as to past conduct that by its nature projects into the future with

23 a threat of repetition.

24         370. Pursuant to open-ended continuity, a plaintiff must show that the
25 racketeering acts themselves include a specific threat of repetition extending

26 indefinitely into the future, or that the predicate acts or offenses are part of an ongoing

27 entity’s regular way of doing business.

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 1        371. An enterprise is a group of individuals or business entities who associate
 2 with each other for a common purpose.

 3        372. Defendants Messner, Clearwater, Welch, and Chartraw (“RICO
 4 Defendants”) constitute an enterprise (collectively, “Enterprise”) as defined by 18

 5 U.S.C. § 1961.

 6        373. RICO Defendants are persons, as defined by 18 U.S.C. § 1961, employed
 7 by and associated with the Enterprise who have participated, directly and indirectly, in

 8 the conduct of the Enterprise’s affairs, and have specifically participated in the

 9 racketeering activity perpetrated by the Enterprise, and are thereby liable to Plaintiff

10 under 18 U.S.C. § 1962.

11        374. The RICO Defendants associated for a common purpose, which was to
12 engage in fraud to obtain money. With that money, the RICO Defendants further sought

13 to obtain financing, or the appearance of financing, or the appearance of progress and

14 achievement pursuant to the development of the All Net arena leading up to the

15 November 21, 2023 Zoning Commission Hearing.

16        375. The RICO Defendants stood to gain tens of millions of dollars, if not more
17 from a favorable ruling at the November 21, 2023 hearing, and the RICO Defendants

18 went to great lengths to carry out their common purpose and goals.

19        376. As set forth herein, the RICO Defendants carried out five acts of wire
20 fraud between April 27, 2023 and August 1, 2023, including the following dates.

21        Predicate   Date of Wire      Wire           Victim           Receiving
22        Act                           Amount                          Account
          1           April 27, 2023    $2,000,000     Plaintiff        Northern Trust
23        2           June 13, 2023     $700,000       Emerald          Northern Trust
24        3           June 19, 2023     $1,145,000     MSC              Northern Trust
          4           June 29, 2023     $3,500,000     Abbson           Northern Trust
25        5           August 1, 2023    $325,000       Konala           Northern Trust
26        Total                         $7,670,000
27        377. The elements of all five predicate acts of wire fraud are established with
28 the requisite level of heightened specificity.

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 1        378. The predicate acts perpetrated by the RICO Defendants reflect a clear and
 2 unmistakable pattern, as the predicate acts were related and demonstrable of criminal

 3 conduct of a continuing nature.

 4        379. Closed-ended continuity is established as the RICO Defendants engaged
 5 in a series of related unlawful acts over a significant period of time.

 6        380. At alleged herein, the RICO Defendants engaged in at least five predicate
 7 acts of wire fraud in less than a year.

 8        381. Open-ended continuity is also established because the racketeering acts
 9 themselves include a specific threat of repetition extending indefinitely into the future

10 and the predicate acts or offenses are part of an ongoing entity’s regular way of doing

11 business.

12        382. The brazen nature of the RICO Defendants’ theft scheme, which utilizes
13 a law firm’s escrow account, reflects a specific threat of repetition extending

14 indefinitely into the future. Without judicial action to halt the unlawful conduct, the

15 RICO Defendants’ unlawful conduct could continue unabated into the future.

16        383. Moreover, the predicate acts and offenses are the Enterprise’s regular way
17 of doing business.

18        384. The RICO Defendants have worked together continuously since mid-2022
19 and their modus operandi is fraud. Messner and Welch positioned themselves as

20 counsel for all dimensions of the Enterprise and they edited the fraudulent BELOC

21 which formed the basis of the fraud scheme.

22        385. The RICO Defendants not only perpetrated the theft of Plaintiff’s ICA
23 deposit, as well as the deposits of at least four other victims, totaling $7,670,000 in

24 stolen money, the RICO Defendants also engaged others to run interference and make

25 false statements on their behalf.

26        386. The RICO Defendants directly engaged in a scheme of making false
27 statements and threats as well as counterattacks to obstruct the uncovering of the truth.

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 1         387. In a manner affecting interstate commerce, the RICO Defendants secured
 2 funds from Plaintiff and other victims through wire transfers.

 3         388. The RICO Defendants participated as principals to further the Enterprise
 4 through their investment with the income derived by from the Enterprise’s acts of

 5 racketeering against Plaintiff and the RICO Defendants are thereby liable to Plaintiff

 6 under 18 U.S.C. § 1962(a).

 7         389. The RICO Defendants acquired or maintained their interest in, and/or
 8 control of, the Enterprise through their ownership or other material interest and are

 9 thereby liable to Plaintiff under 18 U.S.C. § 1962(b).

10         390. The RICO Defendants who were employed by or associated with the
11 Enterprise, engaged in, conducted or participated, directly or indirectly, in the conduct

12 of the Enterprise’s affairs through a pattern of racketeering activity and are thereby

13 liable to Plaintiff under 18 U.S.C. § 1962(c).

14         391. The RICO Defendants conspired to act in furtherance of the Enterprise to
15 the detriment of Plaintiff and others and are thereby liable to Plaintiff under 18 U.S.C.

16 § 1962(d).

17         392. Plaintiff seeks compensatory damages of $2,000,000, trebled to
18 $6,000,000 pursuant to 18 U.S.C. § 1964(c).

19         393. Plaintiff also seeks reasonable attorneys’ fees, costs, and prejudgment
20 interest.

21                                      COUNT TWO
22                                     CIVIL THEFT
23                                    (Against Messner)
24         394. Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
25 as if fully set forth herein.

26         395. California Penal Code § 496(a) provides that a person who withholds, or
27 aids in withholding any property from the owner, knowing the property is stolen or

28 obtained, is guilty of a felony if the property is worth more than $950. The elements of

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 1 civil theft are that (1) the plaintiff rightfully owned property, (2) that was dispossessed

 2 of it, (3) the defendants received, concealed, or withheld the property from the plaintiff,

 3 and (4) the defendants knew that the property was stolen.

 4        396. Defendant Messner has prevented Plaintiff from accessing, possessing, or
 5 controlling the ICA deposit rightfully owned by Plaintiff.

 6        397. As explained in detail above, the ICA deposit is Plaintiff's property, even
 7 after its transfer to Messner to be held in escrow.

 8        398. The ICA deposit is property that is subject to theft under California Penal
 9 Code § 484, and thus, Plaintiff’s loss is actionable under California Penal Code § 496.

10        399. Plaintiff was dispossessed of its money due to Defendant Messner’s fraud
11 scheme, as Messner falsely represented in the BELOC that Plaintiff’s ICA deposit

12 would be “held by a nominated Trustee (attorney) [Messner]” and that the ICA deposit

13 “shall be in Trustee [Messner]’s sole possession and control.”

14        400. Messner knew that the purported BELOC loan would not be funded.
15        401. Messner took possession of Plaintiff’s ICA deposit with the criminal
16 intent to retain the ICA money and entirely dispossess Plaintiff of the ICA deposit.

17        402. Plaintiff revoked its consent for its ICA deposit to remain with Messner.
18        403. Nonetheless, Messner has continued to prevent the return of the ICA
19 deposit to Plaintiff. Messner took and received or converted the ICA money from

20 Plaintiff and others knowing that the deposits did not belong to Messner, which meets

21 the definition of “theft” under Penal Code § 484.

22        404. Messner took and received or converted the ICA money from Plaintiff and
23 others knowing that they belonged to another, which meets the definition of “theft”

24 under Penal Code § 484.

25        405. As a direct and proximate result of Messner’s civil theft of Plaintiff’s
26 property, Plaintiff has been damaged in the principal amount of $2,000,000.

27        406. Pursuant to Pen. Code, § 496(c) Plaintiff is entitled to three times the
28 actual damages sustained by Plaintiff, costs of suit, and reasonable attorneys’ fees.

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 1           407. Therefore, Plaintiff seeks compensatory damages of $2,000,000, trebled
 2 to $6,000,000 pursuant to 18 U.S.C. § 1964(c).

 3           408. Plaintiff also seeks reasonable attorneys’ fees, costs, and prejudgment
 4 interest.

 5                                      COUNT THREE
 6                                       CONVERSION
 7                                      (Against Messner)
 8           409. Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 9 as if fully set forth herein.

10           410. A conversion claim is established when (1) plaintiff owns the property or
11 has a right to possession of the property, (2) the defendant converts the property by a

12 wrongful act or in a manner that is inconsistent with the plaintiff’s property rights, and

13 (3) resulting damages.

14           411. Plaintiff is the owner of the ICA deposit.
15           412. Because the phony BELOC loan did not fund, and was never going to
16 fund, Messner had no right to possess Plaintiff’s ICA deposit.

17           413. Defendant Messner converted the property, Plaintiff’s ICA deposit,
18 pursuant to a wrongful act and in a manner that is inconsistent with Plaintiff’s property

19 rights.

20           414. Plaintiff demanded the return of its ICA deposit, however Defendant
21 wrongfully refused to return the ICA deposit.

22           415. As a result, Plaintiff sustained damages pursuant to the loss of the
23 $2,000,000.

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 1                                      COUNT FOUR
 2                                 FRAUD – FALSE PROMISE
 3                                     (Against Messner)
 4         416. Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 5 as if fully set forth herein.

 6         417. On April 27, 2023, Defendant Messner made false representations to
 7 Plaintiff regarding its role and its intentions as an escrow holder of Plaintiff’s ICA

 8 deposit as set forth within the Verified Complaint.

 9         418. Defendant Messner’s representations, made directly and through others
10 including J.W. and INBE, were, in fact, false and made by Defendant Messner without

11 any intention to fulfill the promises made.

12         419. When Defendant Messner made these representations and promises,
13 Messner knew them to be false and made the representations with the intention to

14 deceive and defraud Plaintiff into acting in reliance on the representations, or with the

15 expectation that Plaintiff would so act.

16         420. When Defendant Messner made the false representations, Plaintiff was
17 unaware of the falsity of the representations and Plaintiff believed them to be true. In

18 reliance on these the false representations, Plaintiffs were induced to and did pay

19 $2,000,000 to Messner as an ICA deposit.

20         421. If Plaintiff had known of the falsity of the representations, Plaintiff would
21 not have taken such actions.

22         422. Plaintiff reasonably relied on Defedant’s representations and believed
23 Defendant Messner would fulfill its promises and abide by the basic obligation to act

24 as an escrow holder by safeguarding Plaintiff’s ICA deposit. Plaintiff believed that

25 Defendant Messner intended to fulfill its promises.

26         423. As a proximate result of Defendant’s misconduct, Plaintiff has been
27 damaged in the amount of $2,000,000.

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 1                                       COUNT FIVE
 2                                 FRAUD – CONCEALMENT
 3                                      (Against Messner)
 4         424. Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 5 as if fully set forth herein.

 6         425. On April 27, 2023, Defendant Messner made false representations to
 7 Plaintiff regarding its role and its intentions as an escrow holder of Plaintiff’s ICA

 8 deposit as set forth within the Verified Complaint.

 9         426. Defendant concealed the true facts about its intentions as an escrow holder
10 of Plaintiff’s ICA deposit.

11         427. Defendant concealed the true facts about what would be done with
12 Plaintiff’s ICA deposit.

13         428. Defendant concealed the true facts regarding INBE’s financial condition,
14 despite its proffer of false facts in the attorney comfort letter.

15         429. Defendant concealed from Plaintiff material terms regarding Messner’s
16 role in the BELOC lending scheme.

17         430. Defendant’s suppression of these material facts was intended to mislead
18 Plaintiff and did in fact mislead Plaintiff in light of the other representations made by

19 Defendant concerning the ICA deposit.

20         431. The representations and failures to disclose information and suppressions
21 of information were carried out with the intent to induce Plaintiff to act in the manner

22 herein alleged in reliance thereon.

23         432. Defendant’s concealment caused Plaintiff to be unaware of material facts.
24         433. If Plaintiff had known the facts not disclosed by Defendant, Plaintiff
25 would not have acted as it did by wiring $2,000,000 to Defendant’s account to be held

26 in escrow.

27         434. As a proximate result, Plaintiff sustained incidental damages in the
28 amount of $2,000,000.

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 1         435. Plaintiff also sustained consequential damages.
 2                                          COUNT SIX
 3                            UNFAIR BUSINESS PRACTICES
 4                    (CAL. BUS. & PROF. CODE § 17200, ET SEQ.)
 5                (Against Messner, Clearwater, Welch, Chartraw, and Titan)
 6       436.     Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 7 as if fully set forth herein.

 8       437.     California’s Unfair Competition Law prohibits any unlawful, unfair, or
 9 fraudulent business act or practice.

10       438.     An unlawful business act or practice is one that is perpetrated in violation
11 of an existing civil or criminal statute.

12       439.     An unfair business act or practice is one that offends an established public
13 policy or an act or practice that is immoral, unethical, oppressive, unscrupulous or that

14 substantially injures consumers.

15       440.     A fraudulent business act or practice is one that is likely to deceive
16 members of the public. Intent is not a requirement and negligence can be sufficient to

17 establish a violation.

18       441.     Standing is established when the plaintiff sustained an economic injury as
19 a result of an unfair act or practice.

20       442.     As set forth herein, Defendants engaged in unlawful, unfair, and
21 fraudulent business practices.

22       443.     As a result of those unlawful, unfair, and fraudulent business practices,
23 Plaintiff sustained $2,000,000 in principal damages.

24       444.     Messner and Welch stated that Titan possesses Plaintiff’s money, while
25 Messner and Welch’s counsel stated that Clearwater possesses Plaintiff’s money.

26       445.     Either way, neither company should have Plaintiff’s money absent
27 Defendants’ misconduct as discussed herein.

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 1       446.     Plaintiff seeks an injunction to prevent Defendants from further
 2 transferring, dissipating, and concealing Plaintiff’s ICA deposit.

 3       447.     Plaintiff also seeks restitution for the money which it lost, in the amount
 4 of $2,000,000, as a result of Defendant’s unfair business practices.

 5                                      COUNT SEVEN
 6                                      NEGLIGENCE
 7                                     (Against Messner)
 8       448.     Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 9 as if fully set forth herein.

10       449.     In the escrow context, an escrow holder is obligated to use the ordinary
11 standard of skill, care, and diligence in carrying out its duties.

12       450.     Moreover, an escrow holder is impliedly obligated to undertake all
13 obligations normally undertaken by an escrow holder unless expressly excluded under

14 the escrow agreement and the escrow holder must use ordinary skill and diligence in

15 carrying out these tasks.

16       451.     If the escrow holder negligently breaches its duty of care pursuant to the
17 escrow agreement, the escrow holder is liable for any foreseeable loss arising from its

18 negligence.

19       452.     Loss of Plaintiff’s money was the foreseeable result of Messner’s failure
20 to hold Plaintiff’s money in its trust account in Messner’s “sole possession and

21 control.”

22       453.     Even if the escrow holder’s liability is not the sole cause of the damages
23 suffered, the escrow holder may still be held liable for negligence if the escrow holder’s

24 breach was a substantial factor in the harm experienced. Messner’s negligence was a

25 substantial factor in the harm that Plaintiff suffered.

26       454.     Messner owed Plaintiff a duty of care as an escrow holder. That duty of
27 care consisted of the obligation to “hold” Plaintiff’s $2,000,000 in Messner’s “sole

28 possession and control.”

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 1       455.     Messner breached the duty of care by failing to “hold” Plaintiff’s
 2 $2,000,000 in Messner’s “sole possession and control.”

 3       456.     Instead of holding Plaintiff’s $2,000,000 ICA deposit in Messner’s sole
 4 possession and control, Messner transferred Plaintiff’s money out of its sole possession

 5 and control in an unknown and unauthorized manner.

 6       457.     Messner’s breach of contract caused the damages that Plaintiff sustained.
 7       458.     Plaintiff sustained incidental damages of $2,000,000.
 8       459.     Plaintiff also sustained consequential damages.
 9       460.     Plaintiff is entitled to recover costs and prejudgment interest.
10                                      COUNT EIGHT
11                            BREACH OF FIDUCIARY DUTY
12                                     (Against Messner)
13       461.     Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
14 as if fully set forth herein.

15       462.     An escrow holder’s fiduciary duties include ensuring strict compliance
16 with the terms of the escrow agreement and the instructions contained therein.

17       463.     Messner was an escrow holder, attorney, trustee, and Messner had a
18 fiduciary relationship with Plaintiff.

19       464.     Messner was duty bound to act with the utmost good faith for the benefit
20 of Plaintiff given that confidence was reposed in Messner and Messner voluntarily

21 accepted or assumed to accept that confidence.

22       465.     Messner is precluded from taking advantage of its acts relating to the
23 interest of Plaintiff without Plaintiff’s knowledge and consent.

24       466.     Messner knowingly undertook to act on behalf and for the benefit of
25 another, and Messner entered into the escrow relationship as a matter of law.

26       467.     Messner had a fiduciary duty of care to ensure that it adhered to the
27 instruction to “hold” Plaintiff’s $2,000,000 ICA deposit in Messner’s “sole possession

28 and control.”

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 1       468.    Messner also had a fiduciary duty to disclose to Plaintiff if Messner
 2 intended to deviate from the instruction to “hold” Plaintiff’s $2,000,000 ICA deposit

 3 in Messner’s “sole possession and control.”

 4       469.    Upon information and belief, Messner had an interest in the transaction,
 5 pursuant to a joint venture at a minimum. Therefore, Messner was obligated to disclose

 6 that interest to Plaintiff before becoming an escrow agent for the parties.

 7       470.    Messner had an additional fiduciary duty to ensure that Clearwater and
 8 any other party did not violate Plaintiff’s rights.

 9       471.    Messner breached the fiduciary duty of care by failing to adhere to the
10 instruction to “hold” Plaintiff’s $2,000,000 ICA deposit in Messner’s “sole possession

11 and control.”

12       472.    Messner breached the fiduciary duty to disclose to Plaintiff if Messner
13 intended to deviate from the instruction to “hold” Plaintiff’s $2,000,000 ICA deposit

14 in Messner’s “sole possession and control.”

15       473.    Messner breached its fiduciary duties by failing to disclose its interest in
16 the transaction to Plaintiff before becoming an escrow agent for the parties.

17       474.    Messner also breached its fiduciary duties by failing to ensure that
18 Clearwater, Chartraw, Titan or any other party did not violate Plaintiff’s rights.

19       475.    As a result of Messner’s breaches of its fiduciary duties, Plaintiff sustained
20 damages.

21       476.    Plaintiff sustained incidental damages of $2,000,000.
22       477.    Plaintiff also sustained consequential damages.
23       478.    Plaintiff is entitled to recover costs and prejudgment interest.
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 1                                      COUNT NINE
 2                           INTENTIONAL INTERFERENCE
 3                 WITH PROSPECTIVE ECONOMIC ADVANTAGE
 4                   (Against Messner, Clearwater, Welch, and Chartraw)
 5       479.     Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
 6 as if fully set forth herein.

 7       480.     Plaintiff and a third-party, INBE, had an economic relationship which
 8 involved a reasonably probable future economic benefit or advantage to Plaintiff.

 9       481.     This relationship, whereby INBE contracted to loan Plaintiff $8,000,000
10 at 6% interest only for ten years, would have led to future benefits for Plaintiff.

11       482.     Defendants intentionally acted wrongfully to interfere with Plaintiff’s
12 relationship with INBE.

13       483.     Defendants’ actions, which include transferring Plaintiff’s ICA deposit
14 out of Messner’s trust account, actually interfered with the relationship between

15 Plaintiff and INBE.

16       484.     Defendants committed many independent wrongful acts as discussed
17 herein.

18       485.     As a result of Defendants’ actions, Plaintiff sustained incidential damages
19 of $2,000,000 with consequential damages to be determined.

20                                       COUNT TEN
21                             NEGLIGENT INTERFERENCE
22                 WITH PROSPECTIVE ECONOMIC ADVANTAGE
23                   (Against Messner, Clearwater, Welch, and Chartraw)
24       486.     Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
25 as if fully set forth herein.

26       487.     Plaintiff and a third-party, INBE, had an economic relationship which
27 involved a reasonably probable future economic benefit or advantage to Plaintiff.

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 1       488.     This relationship, whereby INBE contracted to loan Plaintiff $8,000,000
 2 at 6% interest only for ten years, would have led to future benefits for Plaintiff.

 3       489.     Defendants knew of the existence of the relationship or should have been
 4 aware that if they did not act with due care, their actions would interfere with this

 5 relationship and cause Plaintiff to lose in whole or in part the probable future economic

 6 benefit or advantage of the relationship.

 7       490.     Defendants were negligent.
 8       491.     Defendants’ negligence caused damage to Plaintiff in that the relationship
 9 with actually interfered with or disrupted and Plaintiff lost in whole or in part the

10 economic benefits or advantage reasonably expected from the relationship.

11       492.     Defendants committed many independent wrongful acts as discussed
12 herein.

13       493.     As a result of Defendants’ actions, Plaintiff sustained incidential damages
14 of $2,000,000 with consequential damages to be determined.

15                                     COUNT ELEVEN
16                       ACTION FOR RESTITUTION BASED ON
17                 QUASI-CONTRACT AND UNJUST ENRICHMENT
18                                     (Against Messner)
19       494.     Plaintiff incorporates by reference the allegations of Paragraphs 1 to 365
20 as if fully set forth herein.

21       495.     This count is pled in the alternative to any allegations regarding the
22 existence of any applicable contractual agreement.

23       496.     Plaintiff conferred benefits on Messner, who had knowledge thereof. The
24 benefits include, but are not limited to, the use, arrogation, and usurpation of Plaintiff’s

25 $2,000,000.

26       497.     Defendant voluntarily appreciated, accepted, and retained the benefits
27 conferred.

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 1       498.    The circumstances are such that it would be unjust for Defendant to retain
 2 the benefit at the expense of Plaintiff without paying the value thereof to Plaintiff.

 3       499.    Plaintiff can recover in quasi-contract for restitution based on Messner’s
 4 unjust enrichment.

 5       500.    The purpose of a quasi-contract claim is to restore Plaintiff, the aggrieved
 6 parties, to its former position through the return of the wrongfully obtained property or

 7 equivalent in money.

 8       501.    The unjust enrichment which Defendant obtained should be returned to
 9 Plaintiff.

10       502.    Plaintiff’s funds apparently sit in an account in Messner’s name or the
11 name of a Messner affiliate at a bank named Titan Private Bank, LLC.

12       503.    As a result of Defendant’s unjust enrichment, Plaintiff sustained damages
13 of $2,000,000 which should be paid by Messner.

14        WHEREFORE, Plaintiff prays that this Court enter a judgment against
15 Defendants, jointly and severally, as follows:

16        A.     Pursuant to Count One, sounding in RICO, compensatory damages
17
                 in the principal amount of $2,000,000, trebled to $6,000,000,
                 against Defendants Messner, Clearwater, Welch, and Chartraw,
18               plus reasonable attorneys’ fees, costs, and prejudgment interest;
19
          B.     Pursuant to Count Two, sounding in civil theft, compensatory
20               damages in the principal amount of $2,000,000, trebled to
21               $6,000,000, against Defendant Messner, plus reasonable attorneys’
                 fees, costs, and prejudgment interest;
22

23        C.     Pursuant to Count Three, sounding in conversion, compensatory
                 damages in the principal amount of $2,000,000 against Defendant
24               Messner;
25
          D.     Pursuant to Count Four, sounding in fraud – false promise,
26               compensatory damages in the principal amount of $2,000,000
27               against Defendant Messner;

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 1       E.   Pursuant to Count Five, sounding in fraud – concealment,
 2
              compensatory damages in the principal amount of $2,000,000
              Defendant Messner;
 3

 4       F.   Pursuant to Count Six, sounding in California Unfair Competition
              Law, compensatory damages in the principal amount of $2,000,000
 5            against Defendants Messner, Clearwater, Welch, Chartraw, and
 6            Titan, plus a preliminary and permanent injunction directing
              Defendants to refrain from further transferring, dissipating, or
 7            concealing Plaintiff’s ICA deposit;
 8
         G.   Pursuant to Count Seven, sounding in negligence, compensatory
 9            damages in the principal amount of $2,000,000 against Defendant
10            Messner;

11       H.   Pursuant to Count Eight, sounding in breach of fiduciary duty,
12            compensatory damages in the principal amount of $2,000,000
              against Defendant Messner;
13

14       I.   Pursuant to Count Nine, sounding intentional interference with
              prospective economic advantage, compensatory damages in the
15            principal amount of $2,000,000 against Defendants Messner,
16            Clearwater, Welch, and Chartraw;

17       J.   Pursuant to Count Ten, sounding negligent interference with
18            prospective economic advantage, compensatory damages in the
              principal amount of $2,000,000 against Defendants Messner,
19            Clearwater, Welch, and Chartraw; and,
20
         K.   Pursuant to Count Eleven, sounding in restitution based on quasi-
21            contract and unjust enrichment, compensatory damages in the
22            principal amount of $2,000,000 against Defendant Messner.
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                                      COMPLAINT
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             1                                               VERIFICATION
             2
                         I, Noah Lasko, on behalf of Plaintiff Kosher Eats LLC, verify under penalty of
             3 perjury under the laws of the United States of America that the factual statements in

             4 the foregoing Verified Complaint upon which I have personal knowledge are true and
                 correct, and if called on to testify I would competently testify as to the matters stated
             5 herein.

             6

             7

             8                                                                    
                                          By: _____________________             __________________
             9                                  Noah Lasko                      Dated
           10                                   for Frysta Management LLC
                                                on behalf of Plaintiff Kosher Eats LLC
           11

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                                                               COMPLAINT
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                                    #:85



 1                                         Respectfully submitted,
 2
                                           CHASE LAW & ASSOCIATES, P.A.
 3

 4                                    By: /s/ Kenneth E. Chase
                                           Kenneth E. Chase (SBN 326307)
 5                                         kchase@chaselaw.com
 6                                         CHASE LAW & ASSOCIATES, P.A.
                                           2700 N. Military Trail, Suite 150
 7                                         Boca Raton, FL 33431
 8                                         Telephone: (561) 709-7000

 9                                         Attorneys for Plaintiff Kosher Eats LLC
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                                     COMPLAINT
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                  EXHIBIT A
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Search Criteria - Full Name: all net , Party Type: All, Matching Mode: StartsWith, Date From: 1/1/1984, Date To: 5/19/2024, Doc Types:
All, Book Types: All
 Party   First Party                        #                                                       Record      Parcel   Legal         Total
                        First Cross Party           In
                                                     nstrument#       Document Type   Modifier
 Type    Name                               Pages                                                   Date        #        Description   Value

         ALL NET       CONSTRUCTION                                                                           162-09-
From     DEVELOMENT    TESTING              5       201810230001698 LIS PENDENS                    10/23/2018 602-                     $0.00
         INC           SERVICES LLC                                                                           005

         ALL NET       LAS VEGAS
From     DEVELOPMENT   PAVING               8       202405100000753 JUDGMENT          SATISFACTION 05/10/2024                          $0.00
         INC           CORPORATION

         ALL NET       LAS VEGAS
From     DEVELOPMENT   PAVING               8       202405100000752 JUDGMENT          SATISFACTION 05/10/2024                          $0.00
         INC           CORPORATION

         ALL NET       LAS VEGAS                                                                              162-09-
To       DEVELOPMENT   PAVING               3       202405060000031 LIS PENDENS       RELEASE      05/06/2024 602-                     $0.00
         INC           CORPORATION                                                                            005

         ALL NET       LAS VEGAS                                                                              162-09-
To       DEVELOPMENT   PAVING               3       202405060000030 LIS PENDENS       RELEASE      05/06/2024 602-                     $0.00
         INC           CORPORATION                                                                            001

         ALL NET       LAS VEGAS
To       DEVELOPMENT   PAVING               114     202311090003944 JUDGMENT          AMEND        11/09/2023                          $0.00
         INC           CORPORATION

         ALL NET       LAS VEGAS
To       DEVELOPMENT   PAVING               81      202311090003943 JUDGMENT                       11/09/2023                          $0.00
         INC           CORPORATION

         ALL NET                                                                                              162-09-
                       SAHARA LAS
From     DEVELOPMENT                        2       202311020000958 LEASE             TERMINATE    11/02/2023 602-                     $0.00
                       VEGAS CORP
         INC                                                                                                  001

         ALL NET       LAS VEGAS
To       DEVELOPMENT   PAVING               7       202306060002029 JUDGMENT          SATISFACTION 06/06/2023                          $0.00
         INC           CORPORATION

         ALL NET       ALL NET
From     DEVELOPMENT   DEVELOPMENT          7       202306060002029 JUDGMENT          SATISFACTION 06/06/2023                          $0.00
         INC           INC

         ALL NET       CONSTRUCTION
From     DEVELOPMENT   TESTING              8       202302150001844 JUDGMENT                       02/15/2023                          $0.00
         INC           SERVICES LLC

                       FENAGH
         ALL NET                                                                                              162-09-
                       ENGINEERING
From     DEVELOPMENT                        5       201811200000378 LIS PENDENS                    11/20/2018 602-                     $0.00
                       AND TESTING
         INC                                                                                                  005
                       SERVICES LLC

                       FENAGH
         ALL NET                                                                                              162-09-
                       ENGINEERING
From     DEVELOPMENT                        5       201811200000377 LIS PENDENS                    11/20/2018 602-                     $0.00
                       AND TESTING
         INC                                                                                                  001
                       SERVICES LLC

                       FENAGH
         ALL NET                                                                                              162-09-
                       ENGINEERING
From     DEVELOPMENT                        5       201810240003000 LIS PENDENS                    10/24/2018 602-                     $0.00
                       AND TESTING
         INC                                                                                                  001
                       SERVICES LLC

         ALL NET       LAS VEGAS                                                                              162-09-
                                                                      REQUEST
From     DEVELOPMENT   PAVING               3       201803200003620                                03/20/2018 602-                     $0.00
                                                                      NOTICE
         INC           CORPORATION                                                                            005

         ALL NET       LAS VEGAS                                                                              162-09-
                                                                      REQUEST
From     DEVELOPMENT   PAVING               3       201803200003619                                03/20/2018 602-                     $0.00
                                                                      NOTICE
         INC           CORPORATION                                                                            001

         ALL NET       LAS VEGAS                                                                              162-09-
From     DEVELOPMENT   PAVING               3       201803200003618 LIS PENDENS                    03/20/2018 602-                     $0.00
         INC           CORPORATION                                                                            005
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       ALL NET        LAS VEGAS                                                    162-06-
From   DEVELOPMENT    PAVING          3
                                                                  #:88
                                            201803200003617 LIS PENDENS 03/20/2018 602-    $0.00
       INC            CORPORATION                                                                    001

       ALL NET        LAS VEGAS                                                                    162-09-
From   DEVELOPMENT    PAVING          3     201803200003616 LIEN                        03/20/2018 602-      $0.00
       INC            CORPORATION                                                                  005

       ALL NET        LAS VEGAS                                                                    162-09-
From   DEVELOPMENT    PAVING          3     201803200003615 LIEN                        03/20/2018 602-      $0.00
       INC            CORPORATION                                                                  001

       ALL NET
From   DEVELOPMENT    KLEINFELDER INC 2     201612140000022 AFFIDAVIT       JUDGMENT    12/14/2016           $0.00
       INC

       ALL NET
From   DEVELOPMENT    KLEINFELDER INC 5     201611290002472 STIPULATION     JUDGMENT    11/29/2016           $0.00
       INC

       ALL NET                                                                                     162-09-
                      RENTALS,
From   DEVELOPMENT                    3     201607110003134 LIEN                        07/11/2016 602-      $0.00
                      SUNBELT
       INC                                                                                         001

       ALL NET                                                                                     162-09-
                      SAHARA LAS VEGA
To     DEVELOPMENT                    3     201502110001771 LEASE           OPTION      02/11/2015 602-      $0.00
                      CORP
       INC                                                                                         001

       ALL NET        STURGEON                                                                     162-09-
From   DEVELOPMENT    ELECTRIC        4     201912230001488 LIEN            THIRD       12/23/2019 602-      $0.00
       LLC            COMPANY INC                                                                  001

       ALL NET
From   DEVELOPMENT    KLEINFELDER INC 2     201612140000022 AFFIDAVIT       JUDGMENT    12/14/2016           $0.00
       LLC

       ALL NET
From   DEVELOPMENT    KLEINFELDER INC 5     201611290002472 STIPULATION     JUDGMENT    11/29/2016           $0.00
       LLC

       ALL NET        CONSTRUCTION                                                                 162-09-
From   DEVELOPMENT    TESTING         5     201811210002205 LIS PENDENS                 11/21/2018 602-      $0.00
       LNC            SERVICES LLC                                                                 001

       ALL NET LAND   CONSTRUCTION                                                                 162-09-
From   DEVELOMENT     TESTING         5     201810230001698 LIS PENDENS                 10/23/2018 602-      $0.00
       LLC            SERVICES LLC                                                                 005

       ALL NET LAND   LAS VEGAS                                                                    162-09-
To     DEVELOPMENT    PAVING          10    202206090004199 AGREEMENT       RELEASE     06/09/2022 602-      $0.00
       INC            CORPORATION                                                                  001

       ALL NET LAND   LAS VEGAS                                                                    162-09-
To     DEVELOPMENT    PAVING          3     202405060000031 LIS PENDENS     RELEASE     05/06/2024 602-      $0.00
       LLC            CORPORATION                                                                  005

       ALL NET LAND   LAS VEGAS                                                                    162-09-
To     DEVELOPMENT    PAVING          3     202405060000030 LIS PENDENS     RELEASE     05/06/2024 602-      $0.00
       LLC            CORPORATION                                                                  001

       ALL NET LAND   STURGEON
From   DEVELOPMENT    ELECTRIC        9     202403270001379 JUDGMENT                    03/27/2024           $0.00
       LLC            COMPANY INC

       ALL NET LAND   STURGEON                                                                     162-09-
To     DEVELOPMENT    ELECTRIC        3     202403210004313 LIEN            DISCHARGE   03/21/2024 602-      $0.00
       LLC            COMPANY INC                                                                  001

       ALL NET LAND   STURGEON                                                                     162-09-
To     DEVELOPMENT    ELECTRIC        4     202403210004312 LIEN            DISCHARGE   03/21/2024 602-      $0.00
       LLC            COMPANY INC                                                                  005

       ALL NET LAND   CONSTRUCTION                                                                 162-09-
From   DEVELOPMENT    TESTING         4     202403130003000 MECHANIC LIEN               03/13/2024 602-      $0.00
       LLC            SERVICES LLC                                                                 005

       ALL NET LAND   CONSTRUCTION                                                                 162-09-
From   DEVELOPMENT    TESTING         3     202403120001126 MECHANIC LIEN               03/12/2024 602-      $0.00
       LLC            SERVICES LLC                                                                 001

       ALL NET LAND   LAS VEGAS
To     DEVELOPMENT    PAVING          114   202311090003944 JUDGMENT        AMEND       11/09/2023           $0.00
       LLC            CORPORATION
     Case 2:24-cv-05161-WLH-E                   Document 1 Filed 06/18/24 Page 89 of 150 Page ID
       ALL NETLAND                                                                162-09-
From   DEVELOPMENT
                      PUBLIC WORKS
                                     92    202306270001353
                                                                #:89
                                                           ASSESSMENT
                                                                       06/27/2023 212-    $0.00
                      CLARK COUNTY                           ROLL
       LLC                                                                                           001

       ALL NET LAND   LAS VEGAS
To     DEVELOPMENT    PAVING         7     202306060002029 JUDGMENT        SATISFACTION 06/06/2023                         $0.00
       LLC            CORPORATION

       ALL NET LAND   ALL NET
From   DEVELOPMENT    DEVELOPMENT    7     202306060002029 JUDGMENT        SATISFACTION 06/06/2023                         $0.00
       LLC            INC

       ALL NET LAND   CONSTRUCTION
From   DEVELOPMENT    TESTING        8     202302150001844 JUDGMENT                     02/15/2023                         $0.00
       LLC            SERVICES LLC

       ALL NET LAND                                                                                162-09-
From   DEVELOPMENT    CLARK COUNTY   6     202212080000320 EASEMENT                     12/08/2022 602-                    $0.00
       LLC                                                                                         001

       ALL NET LAND                                                                                162-09-
                                                             MISCELLANEOUS
From   DEVELOPMENT    CLARK COUNTY   7     202212080000319                 DEDICATE     12/08/2022 602-                    $0.00
                                                             (RP)
       LLC                                                                                         001

       ALL NET LAND                                                                                162-09-
                      ACCURATE
To     DEVELOPMENT                   1     202207270001629 LIEN            RELEASE      07/27/2022 602-                    $0.00
                      ELECTRIC INC
       LLC                                                                                         001

                                                                                                             PT YES QTR
       ALL NET LAND
                                                                                                             NE S 9 T 21S R
From   DEVELOPMENT                   4     202201110001327 SURVEY                       01/11/2022                          $0.00
                                                                                                             61E SUR #
       LLC
                                                                                                             11829

       ALL NET LAND                                                                                162-09-
From   DEVELOPMENT    CLARK COUNTY   7     202109220003281 EASEMENT                     09/22/2021 602-                    $0.00
       LLC                                                                                         005

       ALL NET LAND                                                                                162-09-
                      PUBLIC WORKS                           ASSESSMENT
From   DEVELOPMENT                   106   202106160003828                              06/16/2021 212-                    $0.00
                      CLARK COUNTY                           ROLL
       LLC                                                                                         001

       ALL NET LAND                                                                                162-09-
                      CLARK COUNTY
From   DEVELOPMENT                   88    202105050001186 AGREEMENT                    05/05/2021 602-                    $0.00
                      NEVADA
       LLC                                                                                         001

       ALL NET LAND   STURGEON                                                                     162-09-
From   DEVELOPMENT    ELECTRIC       4     202104080001649 LIEN            AMEND        04/08/2021 602-                    $0.00
       LLC            COMPANY INC                                                                  001

       ALL NET LAND                                                                                162-09-
                      PUBLIC WORKS                           ASSESSMENT
From   DEVELOPMENT                   158   202010140000802                              10/14/2020 212-                    $0.00
                      CLARK COUNTY                           ROLL
       LLC                                                                                         001

       ALL NET LAND                                                                                162-09-
                      PUBLIC WORKS                           ASSESSMENT
From   DEVELOPMENT                   88    201906190002370                              06/19/2019 212-                    $0.00
                      CLARK COUNTY                           ROLL
       LLC                                                                                         001

       ALL NET LAND   STURGEON                                                                     162-09-
From   DEVELOPMENT    ELECTRIC       4     201903290000017 LIEN            AMEND        03/29/2019 602-                    $0.00
       LLC            COMPANY INC                                                                  001

       ALL NET LAND                                                                                162-09-
                      PUBLIC WORKS
From   DEVELOPMENT                   2     201902060002062 NOTICE                       02/06/2019 602-                    $0.00
                      CLARK COUNTY
       LLC                                                                                         001

       ALL NET LAND   CONSTRUCTION                                                                 162-09-
From   DEVELOPMENT    TESTING        5     201811210002205 LIS PENDENS                  11/21/2018 602-                    $0.00
       LLC            SERVICES LLC                                                                 001

                      FENAGH
       ALL NET LAND                                                                                162-09-
                      ENGINEERING
From   DEVELOPMENT                   5     201811200000378 LIS PENDENS                  11/20/2018 602-                    $0.00
                      AND TESTING
       LLC                                                                                         005
                      SERVICES LLC

                      FENAGH
       ALL NET LAND                                                                                162-09-
                      ENGINEERING
From   DEVELOPMENT                   5     201811200000377 LIS PENDENS                  11/20/2018 602-                    $0.00
                      AND TESTING
       LLC                                                                                         001
                      SERVICES LLC

                      FENAGH
       ALL NET LAND                                                                                162-09-
                      ENGINEERING
From   DEVELOPMENT                   5     201810240003000 LIS PENDENS                  10/24/2018 602-                    $0.00
                      AND TESTING
       LLC                                                                                         001
                      SERVICES LLC
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       ALL NET LAND                                                               162-09-
From   DEVELOPMENT
                      PUBLIC WORKS
                                      89   201806210001354
                                                                #:90
                                                           ASSESSMENT
                                                                       06/21/2018 204-    $0.00
                      CLARK COUNTY                           ROLL
       LLC                                                                                      002

       ALL NET LAND   STURGEON                                                                  162-09-
From   DEVELOPMENT    ELECTRIC        4    201806040002391 LIEN          AMEND       06/04/2018 602-      $0.00
       LLC            COMPANY INC                                                               001

       ALL NET LAND   STURGEON                                                                  162-09-
From   DEVELOPMENT    ELECTRIC        2    201804230000753 LIEN                      04/23/2018 602-      $0.00
       LLC            COMPANY INC                                                               001

       ALL NET LAND   FENAGH                                                                    162-09-
From   DEVELOPMENT    ENGINEERING     3    201803230001737 LIEN          AMEND       03/23/2018 602-      $0.00
       LLC            AND TESTING LLC                                                           005

       ALL NET LAND   FENAGH                                                                    162-09-
From   DEVELOPMENT    ENGINEERING     3    201803230001736 LIEN          AMEND       03/23/2018 602-      $0.00
       LLC            AND TESTING LLC                                                           001

       ALL NET LAND   CONSTRUCTION                                                              162-09-
From   DEVELOPMENT    TESTING         3    201803230001735 LIEN          AMEND       03/23/2018 602-      $0.00
       LLC            SERVICES                                                                  005

       ALL NET LAND   CONSTRUCTION                                                              162-09-
From   DEVELOPMENT    TESTING         3    201803230001734 LIEN          AMEND       03/23/2018 602-      $0.00
       LLC            SERVICES LLC                                                              001

       ALL NET LAND   LAS VEGAS                                                                 162-09-
                                                             REQUEST
From   DEVELOPMENT    PAVING          3    201803200003620                           03/20/2018 602-      $0.00
                                                             NOTICE
       LLC            CORPORATION                                                               005

       ALL NET LAND   LAS VEGAS                                                                 162-09-
                                                             REQUEST
From   DEVELOPMENT    PAVING          3    201803200003619                           03/20/2018 602-      $0.00
                                                             NOTICE
       LLC            CORPORATION                                                               001

       ALL NET LAND   LAS VEGAS                                                                 162-09-
From   DEVELOPMENT    PAVING          3    201803200003618 LIS PENDENS               03/20/2018 602-      $0.00
       LLC            CORPORATION                                                               005

       ALL NET LAND   LAS VEGAS                                                                 162-06-
From   DEVELOPMENT    PAVING          3    201803200003617 LIS PENDENS               03/20/2018 602-      $0.00
       LLC            CORPORATION                                                               001

       ALL NET LAND   LAS VEGAS                                                                 162-09-
From   DEVELOPMENT    PAVING          3    201803200003616 LIEN                      03/20/2018 602-      $0.00
       LLC            CORPORATION                                                               005

       ALL NET LAND   LAS VEGAS                                                                 162-09-
From   DEVELOPMENT    PAVING          3    201803200003615 LIEN                      03/20/2018 602-      $0.00
       LLC            CORPORATION                                                               001

       ALL NET LAND   CONSTRUCTION                                                              162-09-
To     DEVELOPMENT    TESTING         2    201711060001289 LIEN          DISCHARGE   11/06/2017 602-      $0.00
       LLC            SERVICES                                                                  005

       ALL NET LAND   FENAGH                                                                    162-09-
To     DEVELOPMENT    ENGINEERIGN     2    201711060001288 LIEN          DISCHARGE   11/06/2017 602-      $0.00
       LLC            AND TESTING LLC                                                           005

       ALL NET LAND   FENAGH                                                                    162-09-
To     DEVELOPMENT    ENGINEERIGN     2    201711060001287 LIEN          DISCHARGE   11/06/2017 602-      $0.00
       LLC            AND TESTING LLC                                                           001

       ALL NET LAND   CONSTRUCTION                                                              162-09-
To     DEVELOPMENT    TESTING         2    201711060001286 LIEN          DISCHARGE   11/06/2017 602-      $0.00
       LLC            SERVICES                                                                  001

       ALL NET LAND   FENAGH                                                                    162-09-
To     DEVELOPMENT    ENGINEERING     3    201711030000675 LIEN                      11/03/2017 602-      $0.00
       LLC            AND TESTING LLC                                                           001

       ALL NET LAND   CONSTRUCTION                                                              162-09-
To     DEVELOPMENT    TESTING         3    201711030000674 LIEN                      11/03/2017 602-      $0.00
       LLC            SERVICES                                                                  001

       ALL NET LAND                                                                             162-09-
                      SAHARA LAS
To     DEVELOPMENT                    4    201710090001531 DEED                      10/09/2017 602-      $0.00
                      VEGAS CORP
       LLC                                                                                      001

       ALL NET LAND   FENAGH                                                                    162-09-
From   DEVEOPLMENT    ENGINEERING &   3    201803140001255 LIEN                      03/14/2018 602-      $0.00
       LLC            TESTING LLC                                                               005
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       ALL NET LAND   FENAGH                                                        162-09-
From   DEVEOPLMENT    ENGINEERING &    3     201803140001254 LIEN
                                                                  #:91   03/14/2018 602-    $0.00
       LLC            TESTING LLC                                                                    001

       ALL NET LAND   CONSTRUCTION                                                                 162-09-
From   DEVEOPLMENT    TESTING          3     201803140001253 LIEN                       03/14/2018 602-      $0.00
       LLC            SERVICES                                                                     005

       ALL NET LAND   CONSTRUCTION                                                                 162-09-
From   DEVEOPLMENT    TESTING          3     201803140001252 LIEN                       03/14/2018 602-      $0.00
       LLC            SERVICES                                                                     001

                      LAS VEGAS
From   ALL NET LLC    PAVING           8     202405100000753 JUDGMENT      SATISFACTION 05/10/2024           $0.00
                      CORPORATION

                      LAS VEGAS                                                                    162-09-
To     ALL NET LLC    PAVING           3     202405060000031 LIS PENDENS   RELEASE      05/06/2024 602-      $0.00
                      CORPORATION                                                                  005

                      LAS VEGAS                                                                    162-09-
To     ALL NET LLC    PAVING           3     202405060000030 LIS PENDENS   RELEASE      05/06/2024 602-      $0.00
                      CORPORATION                                                                  001

                      LAS VEGAS
To     ALL NET LLC    PAVING           114   202311090003944 JUDGMENT      AMEND        11/09/2023           $0.00
                      CORPORATION

                      LAS VEGAS
To     ALL NET LLC    PAVING           81    202311090003943 JUDGMENT                   11/09/2023           $0.00
                      CORPORATION

                      ALL NET
From   ALL NET LLC    DEVELOPMENT      7     202306060002029 JUDGMENT      SATISFACTION 06/06/2023           $0.00
                      INC

                      LAS VEGAS
To     ALL NET LLC    PAVING           7     202306060002029 JUDGMENT      SATISFACTION 06/06/2023           $0.00
                      CORPORATION

                      CONSTRUCTION
From   ALL NET LLC    TESTING          8     202302150001844 JUDGMENT                   02/15/2023           $0.00
                      SERVICES LLC

                                                                                                   162-09-
                      ACCURATE
From   ALL NET LLC                     2     202206290001395 LIEN                       06/29/2022 602-      $0.00
                      ELECTRIC INC
                                                                                                   001

                      LAS VEGAS                                                                    162-09-
To     ALL NET LLC    PAVING           10    202206090004199 AGREEMENT     RELEASE      06/09/2022 602-      $0.00
                      CORPORATION                                                                  001

                      ROOT, THOMAS M
From   ALL NET LLC                     7     201909110000072 NOTICE        JUDGMENT     09/11/2019           $0.00
                      JR

                      ROOT, THOMAS M
From   ALLNET LLC                      7     201909110000072 NOTICE        JUDGMENT     09/11/2019           $0.00
                      JR

                      CONSTRUCTION                                                                 162-09-
From   ALL NET LLC    TESTING          5     201811210002205 LIS PENDENS                11/21/2018 602-      $0.00
                      SERVICES LLC                                                                 001

                      FENAGH
                                                                                                   162-09-
                      ENGINEERING
From   ALL NET LLC                     5     201811200000378 LIS PENDENS                11/20/2018 602-      $0.00
                      AND TESTING
                                                                                                   005
                      SERVICES LLC

                      FENAGH
                                                                                                   162-09-
                      ENGINEERING
From   ALL NET LLC                     5     201811200000377 LIS PENDENS                11/20/2018 602-      $0.00
                      AND TESTING
                                                                                                   001
                      SERVICES LLC

                      FENAGH
                                                                                                   162-09-
                      ENGINEERING
From   ALL NET LLC                     5     201810240003000 LIS PENDENS                10/24/2018 602-      $0.00
                      AND TESTING
                                                                                                   001
                      SERVICES LLC

                      CONSTRUCTION                                                                 162-09-
From   ALL NET LLC    TESTING          5     201810230001698 LIS PENDENS                10/23/2018 602-      $0.00
                      SERVICES LLC                                                                 005

                      LAS VEGAS                                                                    162-09-
                                                               REQUEST
From   ALL NET LLC    PAVING           3     201803200003620                            03/20/2018 602-      $0.00
                                                               NOTICE
                      CORPORATION                                                                  005
     Case 2:24-cv-05161-WLH-E                             Document 1 Filed 06/18/24 Page 92 of 150 Page ID
                        LAS VEGAS                                                           162-09-
From   ALL NET LLC      PAVING              3        201803200003619
                                                                         #:92
                                                                     REQUEST
                                                                                 03/20/2018 602-    $0.00
                                                                         NOTICE
                        CORPORATION                                                                            001

                        LAS VEGAS                                                                            162-09-
From   ALL NET LLC      PAVING              3        201803200003618 LIS PENDENS                  03/20/2018 602-      $0.00
                        CORPORATION                                                                          005

                        LAS VEGAS                                                                            162-06-
From   ALL NET LLC      PAVING              3        201803200003617 LIS PENDENS                  03/20/2018 602-      $0.00
                        CORPORATION                                                                          001

                        LAS VEGAS                                                                            162-09-
From   ALL NET LLC      PAVING              3        201803200003616 LIEN                         03/20/2018 602-      $0.00
                        CORPORATION                                                                          005

                        LAS VEGAS                                                                            162-09-
From   ALL NET LLC      PAVING              3        201803200003615 LIEN                         03/20/2018 602-      $0.00
                        CORPORATION                                                                          001

                        FENAGH                                                                               162-09-
To     ALL NET LLC      ENGINEERING     3            201711030000677 LIEN                         11/03/2017 602-      $0.00
                        AND TESTING LLC                                                                      005

                        CONSTRUCTION                                                                         162-09-
To     ALL NET LLC      TESTING             3        201711030000676 LIEN                         11/03/2017 602-      $0.00
                        SERVICES                                                                             005

From   ALL NET LLC      KLEINFELDER INC 2            201612140000022 AFFIDAVIT        JUDGMENT    12/14/2016           $0.00

From   ALL NET LLC      KLEINFELDER INC 5            201611290002472 STIPULATION      JUDGMENT    11/29/2016           $0.00

       ALL NET                                                                                               162-09-
                        SUNBELT
To     RESORT AND                           2        201608180002192 LIEN             DISCHARGE   08/18/2016 602-      $0.00
                        RENTALS
       ARENA                                                                                                 001




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                                               #:104




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                                               #:105




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                                               #:106




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                                               #:113




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AO 245B-CAED (Rev. 09/2011) Sheet 1 - Judgment in a Criminal Case


                                  United States District Court
                                         Eastern District of California

         UNITED STATES OF AMERICA                                    JUDGMENT IN A CRIMINAL CASE
                     v.                                              (For Offenses Committed On or After November 1, 1987)
             DANIEL CHARTRAW                                         Case Number: 2:12CR00184-01


                                                                     Benjamin Galloway, Assistant Federal Defender
                                                                     Defendant’s Attorney

THE DEFENDANT:

[U]     pleaded guilty to count: 9 of the Indictment.
[ ]     pleaded nolo contendere to counts(s)        which was accepted by the court.
[ ]     was found guilty on count(s)       after a plea of not guilty.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following offense:
                                                                                      Date Offense          Count
Title & Section                   Nature of Offense                                   Concluded             Number
18 USC section 1343               W ire Fraud (CLASS C FELONY)                        11/22/2010            9




       The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed
pursuant to the Sentencing Reform Act of 1984.

[ ]     The defendant has been found not guilty on counts(s)              and is discharged as to such count(s).

[U]     Counts 1-8 and 10-18 of the Indictment are dismissed on the motion of the United States.

[ ]     Indictment is to be dismissed by District Court on motion of the United States.

[U]     Appeal rights given.                        [ ]      Appeal rights waived.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within
30 days of any change of name, residence, or mailing address until all fines, restitution, costs, and special
assessments imposed by this judgment are fully paid. If ordered to pay restitution, the defendant must notify the
court and United States attorney of material changes in economic circumstances.

                                                             8/29/2013
                                                             Date of Imposition of Judgment




                                                             Signature of Judicial Officer

                                                             MORRISON C. ENGLAND, JR., United States District Judge
                                                             Name & Title of Judicial Officer

                                                             9/12/2013
                                                             Date
     Case 2:24-cv-05161-WLH-E               Document 1 Filed 06/18/24                      Page 129 of 150 Page ID
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AO 245B-CAED (Rev. 09/2011) Sheet 2 - Imprisonment
CASE NUMBER:             2:12CR00184-01                                                                  Judgment - Page 2 of 7
DEFENDANT:               DANIEL CHARTRAW


                                                     IMPRISONMENT
The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
total term of 57 months.




[]       No TSR: Defendant shall cooperate in the collection of DNA.

[U]      The court makes the following recommendations to the Bureau of Prisons:
         The court recommends that the defendant be incarcerated in the Sheridan, Oregon, facility, but only insofar
         as this accords with security classification and space availability. The court recommends the defendant
         participate in the 500-Hour Bureau of Prisons Substance Abuse Treatment Program.



[U]      The defendant is remanded to the custody of the United States Marshal.



[ ]      The defendant shall surrender to the United States Marshal for this district.
         [ ] at       on    .
         [ ] as notified by the United States Marshal.



[ ]      The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before    on     .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                         RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                             , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                            By
                                                                                               Deputy U.S. Marshal
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AO 245B-CAED (Rev. 09/2011) Sheet 3 - Supervised Release
CASE NUMBER:               2:12CR00184-01                                                                         Judgment - Page 3 of 7
DEFENDANT:                 DANIEL CHARTRAW


                                                SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of 36 months.


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release
from the custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of
controlled substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least
two periodic drug tests thereafter, not to exceed four (4) drug tests per month.

[]       The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk
         of future substance abuse. (Check, if applicable.)

[U]      The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if
         applicable.)

[U]      The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]       The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U.S.C. §
         16901, et seq.), as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration
         agency in which he or she resides, works, is a student, or was convicted of a qualifying offense. (Check, if applicable.)

[]       The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in
accordance with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                               STANDARD CONDITIONS OF SUPERVISION
1)    the defendant shall not leave the judicial district without permission of the court or probation officer;
2)    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
3)    the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)    the defendant shall support his or her dependants and meet other family responsibilities;
5)    the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or
      other acceptable reasons;
6)    the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)    the defendant shall refrain from excessive use of alcohol;
8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)    the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person
      convicted of a felony unless granted permission to do so by the probation officer;
10)   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit
      confiscation of any contraband observed in plain view by the probation officer;
11)   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law
      enforcement officer;
12)   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency
      without the permission of the court;
13)   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the
      defendant's criminal record or personal history or characteristics, and shall permit the probation officer to make such
      notifications and to confirm the defendant's compliance with such notification requirement.
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                                SPECIAL CONDITIONS OF SUPERVISION
        1. The defendant shall submit to the search of his person, property, home, and vehicle by a
           United States probation officer, or any other authorized person under the immediate and
           personal supervision of the probation officer, based upon reasonable suspicion, without a
           search warrant. Failure to submit to a search may be grounds for revocation. The defendant
           shall warn any other residents that the premises may be subject to searches pursuant to this
           condition.

        2. The defendant shall not dispose of or otherwise dissipate any of his assets until the fine and/or
           restitution order by this Judgment is paid in full, unless the defendant obtains approval of the
           Court or the probation officer.

        3. The defendant shall provide the probation officer with access to any requested financial
           information.

        4. The defendant shall not open additional lines of credit without the approval of the probation
           officer.

        5. As directed by the probation officer, the defendant shall participate in an outpatient
           correctional treatment program to obtain assistance for drug or alcohol abuse.

        6. As directed by the probation officer, the defendant shall participate in a program of testing
           (i.e. breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or
           alcohol.

        7. The defendant shall abstain from the use of alcoholic beverages and shall not frequent those
           places where alcohol is the chief item of sale.

        8. The defendant shall not work in a position of fiduciary responsibility without the prior
           approval of the court or the probation officer.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
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DEFENDANT:                    DANIEL CHARTRAW


                                           CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the Schedule of Payments on Sheet 6.

                                                    Assessment                  Fine                  Restitution
       Totals:                                       $ 100.00                  $ 0.00              $ 2,830,698.53



[ ]    The determination of restitution is deferred until           . An Amended Judgment in a Criminal Case (AO 245C) will
       be entered after such determination.

[U] The defendant must make restitution (including community restitution) to the following payees in the amount listed
    below.

       If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless
       specified otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.
       § 3664(i), all nonfederal victims must be paid before the United States is paid.

                    Name of Payee                       Total Loss       Restitution Ordered    Priority or Percentage
                     REDACTED                         $113,800.00          $113,800.00
                     REDACTED                         $200,000.00          $200,000.00
                     REDACTED                          $25,000.00           $25,000.00
                     REDACTED                        $1,000,000.00        $1,000,000.00
                     REDACTED                          $70,000.00           $70,000.00
                     REDACTED                         $100,000.00          $100,000.00
                     REDACTED                         $100,000.00          $100,000.00
                     REDACTED                          $99,999.00           $99,999.00
                     REDACTED                         $100,000.00          $100,000.00
                     REDACTED                         $100,000.00          $100,000.00
                     REDACTED                          $75,000.00           $75,000.00
                     REDACTED                          $75,000.00           $75,000.00
                     REDACTED                          $25,000.00           $25,000.00
                     REDACTED                          $2,747.63             $2,747.63
                     REDACTED                          $50,000.00           $50,000.00
                     REDACTED                          $45,000.00           $45,000.00
                     REDACTED                          $41,250.00           $41,250.00
                     REDACTED                          $2,450.90             $2,450.90
                     REDACTED                         $125,000.00          $125,000.00
                     REDACTED                          $75,000.00           $75,000.00
                     REDACTED                          $35,000.00           $35,000.00
                     REDACTED                          $80,000.00           $80,000.00
                     REDACTED                          $55,000.00           $55,000.00
                     REDACTED                          $80,000.00           $80,000.00
                     REDACTED                          $25,000.00           $25,000.00
                     REDACTED                          $35,451.00           $35,451.00
                     REDACTED                          $70,000.00           $70,000.00
                     REDACTED                          $25,000.00           $25,000.00
                 TOTAL RESTITUTION                   $2,830,698.53        $2,830,698.53




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 5 - Criminal Monetary Penalties
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DEFENDANT:                    DANIEL CHARTRAW



[]     Restitution amount ordered pursuant to plea agreement $

[]     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid
       in full before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment
       options on Sheet 6 may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

[ U]         The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       [U]     The interest requirement is waived for the           [ ] fine          [U] restitution

       [ ]    The interest requirement for the             [ ] fine [ ] restitution is modified as follows:




[ ]    If incarcerated, payment of the fine is due during imprisonment at the rate of not less than $25 per quarter
       and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.

[U] If incarcerated, payment of restitution is due during imprisonment at the rate of not less than $25 per quarter
    and payment shall be through the Bureau of Prisons Inmate Financial Responsibility Program.




  ** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18
for offenses committed on or after September 13, 1994, but before April 23, 1996.
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AO 245B-CAED (Rev. 09/2011) Sheet 6 - Schedule of Payments
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DEFENDANT:                   DANIEL CHARTRAW

                                                 SCHEDULE OF PAYMENTS


      Payment of the total fine and other criminal monetary penalties shall be due as follows:

A     [ ] Lump sum payment of $                due immediately, balance due

         [ ]       not later than   , or
         [ ]       in accordance with            [ ] C,      [ ] D,   [ ] E, or   [ ] F below; or

B     [U]          Payment to begin immediately (may be combined with               [ ] C,          [ ] D, or [ ] F below); or

C     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $     over a period of                (e.g., months
          or years), to commence      (e.g., 30 or 60 days) after the date of this judgment; or

D     [ ] Payment in equal    (e.g., weekly, monthly, quarterly) installments of $    over a period of   (e.g., months
          or years), to commence     (e.g., 30 or 60 days) after release from imprisonment to a term of supervision; or

E     [ ] Payment during the term of supervised release will commence within  (e.g., 30 or 60 days) after release from
          imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay
          at that time; or

F     [ ] Special instructions regarding the payment of criminal monetary penalties:




Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary
penalties is due during imprisonment. All criminal monetary penalties, except those payments made through the Federal
Bureau of Prisons' Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[ ]   Joint and Several

Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several
Amount, and corresponding payee, if appropriate:




[ ]   The defendant shall pay the cost of prosecution.

[ ]   The defendant shall pay the following court cost(s):

[ ]   The defendant shall forfeit the defendant’s interest in the following property to the United States:
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